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                                                           ELECTRONICALLY FILED
                                                           DOC #:
                       UNITED STATES DISTRICT COURT        DATE FILED: 8/6/2018
                         SOUTHERN DISTRICT OF NEW YORK




    IN RE FOREIGN EXCHANGE                         No. 1:13-cv-07789-LGS
    BENCHMARK RATES ANTITRUST
    LITIGATION



      XXXXXXXX
      [PROPOSED] FINAL APPROVAL ORDER OF SETTLEMENT AND FINAL
        JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE AS TO
      THE ROYAL BANK OF SCOTLAND GROUP PLC, THE ROYAL BANK OF
                SCOTLAND PLC, AND RBS SECURITIES INC.

       WHEREAS, a class action is pending in this Court entitled In re Foreign Exchange

Benchmark Rates Antitrust Litigation, No 1:13-cv-07789-LGS;

       WHEREAS, Class Plaintiffs1 have entered into settlements as set forth in the Stipulation

and Agreement of Settlement with Bank of America Corporation, Bank of America, N.A., and

Merrill Lynch, Pierce, Fenner & Smith Incorporated; Stipulation and Agreement of Settlement

with Barclays Bank PLC and Barclays Capital Inc.; Stipulation and Agreement of Settlement with

BNP Paribas Group, BNP Paribas North America Inc., BNP Paribas Securities Corp., and BNP




1
        “Class Plaintiffs” are: Aureus Currency Fund, L.P.; the City of Philadelphia, Board of
Pensions and Retirement; Employees’ Retirement System of the Government of the Virgin Islands;
Employees’ Retirement System of Puerto Rico Electric Power Authority; Fresno County
Employees’ Retirement Association; Haverhill Retirement System; Oklahoma Firefighters
Pension and Retirement System; State-Boston Retirement System; Syena Global Emerging
Markets Fund, LP; Systrax Corporation; Tiberius OC Fund, Ltd.; United Food and Commercial
Workers Union and Participating Food Industry Employers Tri-State Pension Fund; and Value
Recovery Fund L.L.C. (collectively, “Direct Class Plaintiffs”); J. Paul Antonello; Marc G.
Federighi; Thomas Gramatis; Doug Harvey; Izee Trading Company; John Kerstein; Michael
Melissinos; Mark Miller; Robert Miller; Richard Preschern d/b/a Preschern Trading; Peter Rives;
Michael J. Smith; Jeffrey Sterk; and Kimberly Sterk (collectively, “Exchange-Only Class
Plaintiffs”).
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Prime Brokerage, Inc.; Stipulation and Agreement of Settlement with Citigroup Inc., Citibank,

N.A., Citicorp, and Citigroup Global Markets Inc.; Stipulation and Agreement of Settlement with

The Goldman Sachs Group, Inc. and Goldman, Sachs & Co.; Stipulation and Agreement of

Settlement with HSBC Holdings PLC, HSBC Bank PLC, HSBC North America Holdings Inc.,

HSBC Bank USA, N.A., and HSBC Securities (USA) Inc.; Stipulation and Amended Agreement

of Settlement with JPMorgan Chase & Co. and JPMorgan Chase Bank, N.A.; Stipulation and

Agreement of Settlement with The Royal Bank of Scotland Group PLC, The Royal Bank of

Scotland PLC, and RBS Securities Inc.; Stipulation and Amended Agreement of Settlement with

UBS AG, UBS Group AG, and UBS Securities LLC; Stipulation and Agreement of Settlement

with The Bank of Tokyo-Mitsubishi UFJ, Ltd.; Stipulation and Agreement of Settlement with

Morgan Stanley, Morgan Stanley & Co., LLC, and Morgan Stanley & Co. International plc;

Stipulation and Agreement of Settlement with RBC Capital Markets, LLC; Stipulation and

Agreement of Settlement with Société Générale; Stipulation and Agreement of Settlement with

Standard Chartered Bank; and Stipulation and Agreement of Settlement with Deutsche Bank AG;

       WHEREAS each of the foregoing stipulations are collectively referred to as the

“Settlement Agreements,” and the foregoing defendants are collectively referred to as the “Settling

Defendants”;

       WHEREAS the Stipulation and Agreement of Settlement with The Royal Bank of Scotland

Group PLC, The Royal Bank of Scotland PLC, and RBS Securities Inc. (the “Settlement

Agreement”) provides for, among other things, a complete dismissal with prejudice of the claims

asserted against The Royal Bank of Scotland Group PLC, The Royal Bank of Scotland PLC, and




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RBS Securities Inc. (“RBS”) in the Action2 on the terms and conditions set forth in the Settlement

Agreements, subject to the approval of this Court;

       WHEREAS, unless otherwise defined in this Final Approval Order of Settlement and Final

Judgment and Order of Dismissal with Prejudice (the “Final Order and Judgment”), the capitalized

terms herein shall have the same meaning as they have in the Settlement Agreement;

       WHEREAS, “Released Defendant Parties” means, collectively, the “Released Parties” that

are defined in each Settlement Agreement (within paragraph 2);

       WHEREAS, by Orders dated December 15, 2015 (the “Preliminary Approval Order”) and

September 29, 2017 (the “Notice Order”), this Court: (a) preliminarily approved the Settlement

Agreement and Plan of Distribution; (b) preliminarily certified the Settlement Classes; (c) ordered

that notice of the Settlement Agreements be provided to potential members of the Settlement

Classes; (d) provided members of the Settlement Classes with the opportunity either to exclude

themselves from the Settlement Classes or to object to any of the proposed Settlement Agreements;

(e) designated Christopher M. Burke and Michael D. Hausfeld as settlement class counsel for the

Settlement Classes (“Class Counsel”) and Class Plaintiffs as class representatives of the Settlement

Classes; and (f) scheduled a hearing regarding final approval of the Settlement on May 23, 2018;

       WHEREAS, due and adequate notice has been given to the Settlement Classes;




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        The “Action” means In re Foreign Exchange Benchmark Rates Antitrust Litigation, 1:13
Civ. 7789, which is currently pending in the United States District Court for the Southern District
of New York, and includes all actions filed in or transferred to the United States District Court for
the Southern District of New York and consolidated thereunder and all actions that may be so
transferred and consolidated in the future, including: Taylor v. Bank of America Corp. (15 Civ.
1350), Sterk v. Bank of America Corp. (15 Civ. 2705), Bakizada v. Bank of America Corp. (15
Civ. 4230), Teel v. Bank of America Corp. (15 Civ. 4436), and Robert Charles Class A, L.P. v.
Bank of America Corp. (15 Civ. 4926).

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       WHEREAS, the 90-day period provided by the Class Action Fairness Act, 28 U.S.C.

§1715(d), having expired;

       WHEREAS, the Court conducted a hearing on May 23, 2018 (the “Fairness Hearing”) to

consider, among other things, (a) whether the terms and conditions of the Settlement Agreements

are fair, reasonable, and adequate to the Settlement Classes, and should therefore be approved; and

(b) whether a judgment should be entered dismissing the Action with prejudice as against RBS;

and

       WHEREAS, the Court having reviewed and considered the Settlement Agreements, all

papers filed and proceedings held herein in connection with the Settlement Agreements, all oral

and written comments received regarding the Settlement Agreements, and the record in the Action,

and good cause appearing therefore,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.      Jurisdiction – This Court has jurisdiction over the subject matter of the Action, all

matters relating to the Settlement Agreement, as well as personal jurisdiction over all Parties and

each of the Settlement Class Members.

       2.      CAFA Notice – The notice provisions of the Class Action Fairness Act, 28 U.S.C.

§1715, have been satisfied.

       3.      Incorporation of Settlement Documents – This Final Order and Judgment

incorporates and makes a part hereof: (a) the Settlement Agreement; and (b) the Mail Notice, Claim

Form, and Publication Notice, which were each approved by the Court on September 29, 2017.

       4.      Class Certification for Settlement Purposes − Pursuant to Rule 23(a) and

23(b)(3) of the Federal Rules of Civil Procedure, and based on the record before the Court,

including the submissions in support of the settlement and objections and responses thereto, the


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Court hereby affirms its determinations in the Preliminary Approval Order and certifies, for the

purposes of settlement only, the following Settlement Classes:

       The Direct Settlement Class: All Persons who, between January 1, 2003 and
       December 15, 2015, entered into an FX Instrument directly with a Defendant, a direct
       or indirect parent, subsidiary, or division of a Defendant, a Released Defendant Party,
       or co-conspirator where such Persons were either domiciled in the United States or its
       territories or, if domiciled outside the United States or its territories, transacted FX
       Instruments in the United States or its territories. Specifically excluded from the Direct
       Settlement Class are Defendants; Released Defendant Parties; co-conspirators; the
       officers, directors, or employees of any Defendant, Released Defendant Party, or co-
       conspirator; any entity in which any Defendant, Released Defendant Party, or co-
       conspirator has a controlling interest; any affiliate, legal representative, heir, or assign
       of any Defendant, Released Defendant Party, or co-conspirator and any person acting
       on their behalf; provided, however, that Investment Vehicles shall not be excluded from
       the definition of the Direct Settlement Class. Also excluded from the Direct Settlement
       Class are any judicial officer presiding over this action and the members of his/her
       immediate family and judicial staff, and any juror assigned to this Action.

       The Exchange-Only Settlement Class: All Persons who, between January 1, 2003
       and December 15, 2015, entered into FX Exchange-Traded Instruments where such
       Persons were either domiciled in the United States or its territories or, if domiciled
       outside the United States or its territories, entered into FX Exchange-Traded
       Instruments on a U.S. exchange. Specifically excluded from the Exchange-Only
       Settlement Class are Defendants; Released Defendant Parties; co-conspirators; the
       officers, directors, or employees of any Defendant, Released Defendant Party, or co-
       conspirator; any entity in which any Defendant, Released Defendant Party, or co-
       conspirator has a controlling interest; any affiliate, legal representative, heir, or assign
       of any Defendant, Released Defendant Party, or co-conspirator and any person acting
       on their behalf; provided, however, that Investment Vehicles shall not be excluded from
       the definition of the Exchange-Only Settlement Class. Also excluded from the
       Exchange-Only Settlement Class are: (i) any judicial officer presiding over this action
       and any member of his/her immediate family and judicial staff, and any juror assigned
       to this Action; and (ii) any Person who, between January 1, 2003 and December 15,
       2015, entered into an FX Instrument directly with a Defendant, a direct or indirect
       parent, subsidiary, or division of a Defendant, a Released Defendant Party, or co-
       conspirator, where such Person was either domiciled in the United States or its
       territories or, if domiciled outside the United States or its territories, transacted FX
       Instruments in the United States or its territories.

       5.      The Court finds that the requirements of Rule 23(a) and 23(b)(3) of the Federal

Rules of Civil Procedure are satisfied solely for settlement purposes, as follows:



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               a.      Pursuant to Rule 23(a)(l), the Court determines that the Settlement Class

Members are so numerous that their joinder before the Court would be impracticable.

               b.      Pursuant to Rule 23(a)(2), the Court determines that there are one or more

questions of fact or law common to the Settlement Classes.

               c.      Pursuant to Rule 23(a)(3), the Court determines that Class Plaintiffs’ claims

are typical of the claims of the Settlement Classes.

               d.      Pursuant to Rule 23(a)(4), the Court determines that Class Plaintiffs will

fairly and adequately protect the interests of the Settlement Classes. Direct Class Plaintiffs are

certified as class representatives on behalf of the Direct Settlement Class; and Exchange-Only

Class Plaintiffs are certified as class representatives on behalf of the Exchange-Only Settlement

Class.

               e.      Pursuant to Rule 23(b)(3), the Court determines that common questions of

law and fact predominate over questions affecting only individual members.

               f.      Also pursuant to Rule 23(b)(3), the Court determines that a class action is

superior to other available methods for the fair and efficient adjudication of this Action.

         6.    Pursuant to Rule 23(g) of the Federal Rules of Civil Procedure, Class Counsel are

certified as settlement class counsel for the Settlement Classes.

         7.    Notice – The Court finds that the dissemination of the Mail Notice and Publication

Notice: (a) were implemented in accordance with the Notice Order; (b) constitutes the best notice

practicable under the circumstances; (c) constitutes notice that was reasonably calculated, under

the circumstances, to apprise the Settlement Classes of (i) the pendency of the Action; (ii) the

effect of the Settlement Agreements (including the Releases to be provided thereunder); (iii) Class

Counsel’s motion for an award of attorneys’ fees and reimbursement of expenses; (iv) the right to


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object to any aspect of the Settlement Agreements, the Plan of Distribution, and/or Class Counsel’s

motion for attorneys’ fees and reimbursement of expenses; (v) the right to opt out of the Settlement

Classes; and (vi) the right to appear at the Fairness Hearing; (d) constitutes due, adequate, and

sufficient notice to all persons and entities entitled to receive notice of the Settlement Agreements;

and (e) satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure and the United

States Constitution (including the Due Process Clause).

       8.      Final Settlement Approval – Pursuant to Rule 23(e) of the Federal Rules of Civil

Procedure, the Court hereby grants final approval of the Settlement Agreement in all respects

(including, without limitation: the Settlement Fund amount; the Releases; and the dismissal with

prejudice of the claims asserted against RBS in the Action), and finds that the Settlement

Agreement is, in all respects, fair, reasonable, and adequate to the Settlement Classes. In reaching

this conclusion, the Court considered the factors set forth in City of Detroit v. Grinnell Corp., 495

F.2d 448, 463 (2d Cir. 1974), abrogated on other grounds by Goldberger v. Integrated Res., Inc.,

209 F.3d 43 (2d Cir. 2000). Moreover, the Court concludes that:

               a.      the Settlement Agreement was fairly and honestly negotiated by counsel

with significant experience litigating class actions and is the result of vigorous arm’s-length

negotiations undertaken in good faith and with the assistance of Kenneth R. Feinberg, an

experienced and well-regarded mediator of complex cases;

               b.      the Action involves contested issues of law and fact, such that the value of

an immediate monetary recovery, in conjunction with the value of the cooperation agreement,

outweigh the mere possibility of future relief after protracted and expensive litigation;

               c.      this is a partial settlement of the Action in a multi-defendant antitrust case,

meaning that if Class Plaintiffs’ claims are proven at trial, non-settling defendants will remain


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liable for all class damages under principles of joint and several liability, and, as such, the

Settlement Agreement provides a guaranteed cash recovery and other benefits to the Settlement

Classes without substantially diminishing the value of the case going forward;

               d.      success in antitrust cases such as this one is inherently uncertain, and there

is no guarantee that continued litigation would yield a superior result; and

               e.      Class Counsel’s judgment that the Settlement Agreement is fair and

reasonable.

       9.      Dismissal of the Action and Release – Except as to any claim of those Persons

(identified in Exhibit A) who have validly and timely requested exclusion from the Settlement

Classes (“Opt-Outs”), the Action and all claims contained therein, as well as all of the Released

Claims against any of the Released Parties by Class Plaintiffs, Settlement Class Members, and

Releasing Parties are each hereby dismissed with prejudice. The Parties are to bear their own

costs, except as otherwise provided in the Settlement Agreement.

       10.     The Opt-Outs identified in Exhibit A are excluded from the Settlement Classes

pursuant to properly made requests, are not bound by the Settlement Agreements, or this Final

Order and Judgment, and may not make any claim or receive any benefit from the Settlement

Agreements, whether monetary or otherwise.

       11.     The releases set forth in paragraph 8 of the Settlement Agreement, together with

the Definitions contained in paragraph 2 of the Settlement Agreement relating thereto, are

expressly incorporated herein in all respects. The releases are effective as of the Effective Date.

       12.     Upon the Effective Date, each of the Released Parties: (a) shall be deemed to have,

and by operation of this Final Order and Judgment shall have fully, finally, and forever waived,

released, relinquished, and discharged (i) Class Plaintiffs, Class Lead Counsel, and each and all


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Settlement Class Members from each and every one of the Settling Defendants’ Claims, and

(ii) any rights to the protections afforded under California Civil Code §1542 and/or any other

similar, comparable, or equivalent laws; (b) shall forever be enjoined from prosecuting the Settling

Defendants’ Claims; and (c) agrees and covenants not to sue on the basis of any Settling

Defendants’ Claims, or to assist any third party in commencing or maintaining any such suit related

to any Settling Defendants’ Claims.

       13.     Upon the Effective Date, each of the Releasing Parties: (a) shall be deemed to have,

and by operation of this Final Order and Judgment, shall have fully, finally, and forever waived,

released, relinquished, and discharged (i) all Released Claims against the Released Parties,

regardless of whether such Releasing Party executes and delivers a proof of claim and release

form, and (ii) any rights to the protections afforded under California Civil Code §1542 and/or any

other similar, comparable, or equivalent laws; (b) shall forever be enjoined from prosecuting in

any forum any Released Claim against any of the Released Parties; and (c) agrees and covenants

not to sue any of the Released Parties on the basis of any Released Claims or to assist any third

party in commencing or maintaining any suit against any Released Party related in any way to any

Released Claims.

       14.     Upon the Effective Date, claims against the Released Parties for contribution or

indemnification (however denominated) for all or a portion of any amounts paid in the Action by

way of settlement, judgment, or otherwise, are barred.

       15.     This Final Order and Judgment shall not affect, in any way, the right of Class

Plaintiffs, Settlement Class Members, or Releasing Parties to pursue claims, if any, outside the

scope of the Released Claims.




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           16.   Nothing in this Final Order and Judgment shall bar any action by any of the Parties

to enforce or effectuate the terms of the Settlement Agreement or this Final Order and Judgment.

           17.   All rights of Class Plaintiffs, Settlement Class Members, and Releasing Parties

against non-settling defendants or any Persons other than the Released Parties with respect to any

of the Released Claims are specifically reserved by Class Plaintiffs, Settlement Class Members, or

Releasing Parties. The purchase, sale, and trading of FX Instruments and FX Exchange-Traded

Instruments by RBS shall remain in the case as a potential basis for joint and several liability

damages claims against non-settling defendants, or any other Persons other than the Released

Parties.

           18.   No Admission – Neither the Settlement Agreement nor the settlement contained

therein, nor any act performed or document executed pursuant to or in furtherance of the Settlement

Agreement or the settlement contained therein: (a) is or may be deemed to be or may be used as

an admission or evidence of the validity of any Released Claim, or of any wrongdoing or liability

of the Released Parties; or (b) is or may be deemed to be or may be used as an admission of, or

evidence of, any fault or omission of any of the Released Parties in any civil, criminal, or

administrative proceeding in any court, administrative agency, or other tribunal. The Settlement

Agreement may be filed in an action to enforce or interpret the terms of the Settlement Agreement,

the settlement contained therein, and any other documents executed in connection with the

performance of the agreements embodied therein. The Released Parties may file the Settlement

Agreement and/or this Final Order and Judgment in any action that may be brought against them

in order to support a defense or counterclaim based on the principles of res judicata, collateral

estoppel, full faith and credit, release, good faith settlement, judgment bar, or reduction or any

other theory of claim preclusion or issue preclusion or similar defense or counterclaim.


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       19.      Retention of Jurisdiction – Without affecting the finality of this Final Order and

Judgment in any way, this Court hereby retains continuing jurisdiction over: (a) implementation

of the Settlement Agreement and any award or distribution of the Settlement Fund, including

interest earned thereon; (b) disposition of the Settlement Fund; (c) hearing and determining

applications for attorneys’ fees and reimbursement of expenses; and (d) all Parties hereto for the

purpose of construing, enforcing, and administering the terms of the Settlement Agreement.

       20.      Rule 11 Findings – The Court finds that during the course of the Action, the Parties

and their respective counsel at all times complied with the requirements of Federal Rule of Civil

Procedure 11.

       21.      Termination of Settlement or Failure of Effective Date to Occur – In the event

that the settlement does not become effective in accordance with the terms of the Settlement

Agreement or the Effective Date does not occur, or in the event that the Settlement Fund, or any

portion thereof, is returned to RBS in accordance with the Settlement Agreement, then this Final

Order and Judgment shall be rendered null and void to the extent provided by and in accordance

with the Settlement Agreement and shall be vacated and, in such event, all orders entered and

releases delivered in connection herewith shall be null and void to the extent provided by and in

accordance with the Settlement Agreement.

       22.      Except as otherwise provided herein, in the event the Settlement Agreement is

terminated, is vacated, is not approved, or the Effective Date fails to occur for any reason, then the

Parties to the Settlement Agreement shall be deemed to have reverted to their respective status in

the Action as of the Execution Date, and the Parties shall proceed in all respects as if the Settlement

Agreement and any related orders had not been entered, and any portion of the Settlement Fund

previously paid by or on behalf of RBS, together with any interest earned thereon (and, if


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applicable, re-payment of any Fee and Expense Award referred to in paragraph 9(a) of the

Settlement Agreement), less any Taxes due, if any, with respect to such income, and less costs of

administration and notice actually incurred and paid or payable from the Settlement Fund (not to

exceed $500,000 without the prior approval of the Court) shall be returned to RBS within ten (10)

business days from the date of the event causing such termination. At the request of RBS’s

Counsel, the Escrow Agent shall apply for any tax refund owed on the Settlement Fund and pay

the proceeds to RBS.

       23.     Modification – Without further order of the Court, the Parties may agree to

reasonable extensions of time to carry out any of the provisions of the Settlement Agreement.

       24.     Separate Orders – Separate orders shall be entered regarding approval of the Plan

of Distribution and awarding attorneys’ fees and reimbursement of litigation expenses. Such

orders shall in no way disturb or affect this Final Order and Judgment and shall not affect or delay

the Effective Date of the Settlement.



       25.     Entry of Order – There is no just reason for delay in the entry of this Final Order

and Judgment, and immediate entry by the Clerk of the Court is expressly directed.



       IT IS SO ORDERED.

          August 6, 2018
DATED: _________________________              _________________________________________
                                              THE HONORABLE LORNA G. SCHOFIELD
                                              UNITED STATES DISTRICT JUDGE




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                       EXHIBIT A
                                             Case 1:13-cv-07789-LGS Document  1109
                                                                         Exhibit A Filed 08/06/18 Page 14 of 32

1.   Aegon N.V.
    Aegon N.V.
2.   Allianz Global Investors GmbH
    Allianz Global Investors GmbH (f/k/a DEUTSCHER                   Allianz AGIC International Fund                                 AllianzGI Technology Fund‐WAL
     INVESTMENT‐TRUST Gesellschaft für Wertpapieranlagen              Allianz AGIC International Growth Fund                          ALLMCV
     mbH, Allianz Global Investors Kapitalanlagegesellschaft          Allianz AGIC International Growth Opportunities Fund            ALZ GLOBAL SUSTAINABLE FUND
     mbH, and Allianz Global Investors Europe GmbH), on behalf        Allianz AGIC Pacific Rim Fund                                   Asia All sector RSM
     of itself and the funds for which it acts as management          Allianz AGIC Small to Mid Cap Growth Fund                       Asia All Sector RSM
     company                                                          Allianz AGIC Target Fund                                        Australian Portfolio Managers ‐ FE
    Allianz Global Investors Ireland Limited (f/k/a Dresdner         Allianz Azioni America Fund                                     AV‐ COMPLETION (BS)
     International Management Services Limited), on behalf of         ALLIANZ AZIONI GLOBALE                                          AV‐ COMPLETION (MS)
     itself and the funds for which it acts as management             Allianz CGI Subfonds North America Equity Fonds                 AZL Allianz AGIC Opportunity Fund
     company                                                          ALLIANZ DIT GLOBAL INNOVATION TRENDS FUND                       AZL NACM International
    Allianz Global Investors Fund Société d’Investissement à         Allianz Dresdner Euro Balanced DRCM Large Cap Growth ‐          AZL NACM International Growth
     Capital Variable (f/k/a Dresdner Global Strategies Fund           EQ                                                              AZL OCC RENAISSANCE
     Société d’Investissement à Capital Variable)                     Allianz Dresdner Global Strategies Fund                         AZL OCC Value
    Allianz European Pension Investments Société                     Allianz Dresdner Global Strategies Fund‐Euro Balanced           AZL OCC VALUE II
     d’Investissement à Capital Variable
                                                                      Allianz Dresdner Global Strategies Fund‐Global Vision           AZLIFE
    Allianz Global Investors Fund II Société d’Investissement à
                                                                      Allianz Dresdner Global Vision DRCM Large Cap Growth ‐          CITINT
     Capital Variable
                                                                       EQ                                                              Coronado Fund LLC – Long
    Allianz Institutional Investors Series Société
                                                                      Allianz Dresdner US Small Cap Equity Fund ‐ K                   Coronado Fund LLC ‐ Short
     d’Investissement à Capital Variable
                                                                      ALLIANZ EQUITY INVESTMENTS                                      Deutscher Investment Trust
    RP Rendite Plus Société d’Investissement à Capital Variable
                                                                      Allianz Global Agricultural Trends Fund                         DIPS
    ALLIANZ ACTIO FRANCE Société d’Investissement à Capital
                                                                      Allianz Global Hi‐Tech Growth Fund                              DIT ‐ Dresdner New America Fund
     Variable (f/k/a AGF ACTIO FRANCE Société d’Investissement
                                                                      Allianz Global Insights Fund                                    DIT ‐ Dresdner New America Fund ‐ BD
     à Capital Variable)
                                                                      Allianz Global Investors                                        DIT ‐ Dresdner New America Fund ‐ I
    ALLIANZ ACTIO EURO Société d’Investissement à Capital
                                                                      Allianz Global Investors                                        DIT AKTIEN GLOBAL
     Variable (f/k/a AGF ACTIO EURO Société d’Investissement à
     Capital Variable)                                                Allianz Global Investors Capital International Systematic       DIT Global Eco Trend Fund
    ALLIANZ ACTIONS FRANCE Société d’Investissement à
                                                                       Fund LL                                                         DIT GLOBAL ECO TREND FUND
     Capital Variable (f/k/a AGF EPARGEN ACTIONS Société              Allianz Global Investors Nicholas Applegate Global Select       DIT GROSSBRITANNIEN
     d’Investissement à Capital Variable)                              Fund                                                            DIT INTERGLOBAL
    ALLIANZ FONCIER Société d’Investissement à Capital               Allianz Global Investors RCM Global Analysts’ Choice Fund       Dresdner Global Distributor North American Fund
     Variable (f/k/a AGF FONCIER Société d’Investissement à           Allianz Global Investors RCM Global Analysts’ Choice Fund‐      Dresdner Global Distributor North American Fund ‐ EQ
     Capital Variable)                                                 FE                                                              Dresdner Global Technology Fund ‐ EQ
    ALLIANZ IMMO Société d’Investissement à Capital Variable         Allianz Global Investors Selections‐OpCap Global Eq. Fund       Dresdner RCM Global Analysts Choice Fund
     (f/k/a AGF IMMO Société d’Investissement à Capital               Allianz Global Select Equity Investment Trust                   Dresdner RCM Global Analysts Choice Fund ‐ CD
     Variable)                                                        Allianz GREQ RCM US Large Caps Fonds                            Dresdner RCM Global Analysts Choice Fund ‐ CS
    ALLIANZ MONETAIRE Société d’Investissement à Capital             Allianz Nederland America Fund (Eur)                            Dresdner RCM Global Analysts Choice Fund ‐ FL
     Variable (f/k/a AGF MONETAIRE Société d’Investissement à         ALLIANZ OCC EQUITY PREMIUM STRATEGY FUND                        Dresdner RCM Global Analysts Choice Fund ‐ HC
     Capital Variable)                                                Allianz OCC International Equity Fund                           Dresdner RCM Global Analysts Choice Fund ‐ IT
    ALLIANZ OBLIGATIONS INTERNATIONALES Société                      Allianz OCC Renaissance                                         Dresdner RCM Global Analysts Choice Fund ‐ TL
     d’Investissement à Capital Variable (f/k/a AGF OBLIGATIONS       Allianz OCC Value                                               Dresdner RCM Global Analysts Choice Fund‐ IN
     INTERNATIONALES Société d’Investissement à Capital               Allianz PIMCO Sterling Total Return Fund                        Dresdner RCM Global Equities Trust Fund ‐ FE
     Variable)                                                        Allianz PIMCO UK Corporate Bond Fund                            Dresdner RCM Global Equity Fund (Ex‐Canada) ‐ FE
    ALLIANZ SECURITE Société d’Investissement à Capital              Allianz Private International Systematic Trust                  Dresdner RCM Global Investors LLC Comm Fd ‐ Grassroots
     Variable (f/k/a PHENIX SECURITE Société d’Investissement à       Allianz PV‐WS RCM US Large Cap Fonds                             Fd FE

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    Capital Variable)                                                 Allianz PV‐WS RCM US Large Caps Fonds                    Dresdner RCM Global Investors LLC Comm Fd ‐ Grassroots
   ALLIANZ VALEURS DURABLE Société d’Investissement à                Allianz RCM All Alpha Fund                                Fd SH
    Capital Variable (f/k/a AGF VALEURS DURABLE Société               Allianz RCM All Alpha Fund‐Segregated Cash Futures       Dresdner RCM Global Investors LLC Comm Fd ‐ Grassroots
    d’Investissement à Capital Variable)                              Allianz RCM All Horizons Fund                             Fund
   ALLIANZ EPARGNE RETRAITE Société d’Investissement à               Allianz RCM Biotechnology Fund                           Dresdner RCM Global Scap Fund 920
    Capital Variable                                                  Allianz RCM Biotechnology Fund ‐ EQ                      Dresdner RCM Global Scap Fund 920 ‐ Equity
   ALLIANZ EPARGNE SALARIALE Société d’Investissement à              Allianz RCM Brazil Fund                                  Dresdner RCM Global Scap Fund 920 ‐ Fe
    Capital Variable                                                  Allianz RCM BRIC Stars Fund                              DRESDNER RCM INCOME GROWTH INVESTMENT TRUST
   ALLIANZ PFIZER Société d’Investissement à Capital Variable        Allianz RCM Continental European Fund                     PLC
   Allianz International Investment Funds OEIC                       Allianz RCM Customised Global Equity Fund                Dresdner RCM U.S. Large Cap Fund
   Allianz UK & European Investment Funds OEIC                       Allianz RCM Disciplined International Equity Fund        Dresdner RCM U.S. Large Cap Fund ‐ EQ
   Allianz Global Investors Fund VI PLC (f/k/a dit‐RCM Asian         Allianz RCM Disciplined International Equity Fund ‐      DYNAMIC HYBRID INV
    Selections Fund PLC, Dresdner RCM Asian Selections Fund            Fgn.Equity                                               EAFE Research Plus
    PLC)                                                              Allianz RCM Dynamic Growth Fund                          EMVALU
   Allianz Global Investors Fund X PLC (f/k/a RCM Global Series      Allianz RCM European Equity Income Fund                  GLB EQ HIGH ALPHA X JPN
    Fund PLC)                                                         Allianz RCM Financial Services Fund                      GLB EQTY HIGH ALPHA
   Allianz Global Investors Opportunities SICAV                      Allianz RCM Financial Services Fund ‐ FE                 GLBDIT
   Rogge Funds PLC                                                   Allianz RCM Focused Growth Fund                          Global Agricultural Trends
   Allianz Global Investors Asia Pacific Limited as investment       Allianz RCM Focused Growth Fund‐ WCP/HC                  GLOBAL WATER FUND
    manager for:                                                      Allianz RCM Focused Growth Fund‐OP                       GRASSROOTS
   Allianz Global Investors Choice Fund                              Allianz RCM Focused Growth Fund‐PMT                      INTEAFE
         Allianz Choice Absolute Return Fund                         Allianz RCM Global Eco Trends Fund                       INTSCV
         Allianz Choice Asian Fund                                   Allianz RCM Global EcoTrends                             KOREAN GLOBAL ECO TRENDS
         Allianz Choice Balanced Fund                                ALLIANZ RCM GLOBAL EQUITY FUND                           LCVLUX
         Allianz Choice HK$ Liquidity Fund                           Allianz RCM Global Hi‐Tech Growth Fund ‐ AS              MD International Growth Fund ‐ IE Portfolio (closed)
         Allianz Choice HK$ Cash Fund                                Allianz RCM Global Hi‐Tech Growth Fund ‐ EQ              NAIF US SMALL TO MID MASTER
         Allianz Choice Growth Fund                                  Allianz RCM Global Resources ‐ Choice Fund (MPF)         NFJGDV
         Allianz Choice Hong Kong Fund                               Allianz RCM Global Small Cap Fund                        NFJISC
         Allianz Choice Stable Growth Fund                           Allianz RCM Global Small Cap Fund ‐ Non US               NFJIVF
         Allianz Choice Capital Stable Fund                          Allianz RCM Global Small‐Cap Fund ‐ Fgn. Equity          NFJMCB
         Allianz Choice Greater China Fund                           ALLIANZ RCM GLOBAL SUSTAINABILITY FUND                   Nicholas‐Applegate Emerging Markets Fund
         Allianz Choice Oriental Fund                                Allianz RCM HDD USA Fund ‐Equity                         Nicholas‐Applegate Glbl Eqty 130/30 Long
         Allianz Choice RMB Money Market Fund                        Allianz RCM HDD USA Fund ‐Options                        Nicholas‐Applegate Glbl Eqty 130/30 Short
   Allianz Global Investors Trust                                    ALLIANZ RCM HORIZON FUND                                 Nicholas‐Applegate Global Healthcare Fund Class IClosed
         Allianz Short Duration High Yield                           ALLIANZ RCM IIS GLOBAL SMALL CAP ‐ EUROPE                Nicholas‐Applegate Global Select Fund
         Allianz Dynamic Global Bond Allocation Fund                 ALLIANZ RCM IIS GLOBAL SMALLER CAP ‐ HONG KONG           Nicholas‐Applegate International Growth Fund
   Allianz Global Investors Singapore Limited as investment          ALLIANZ RCM IIS GLOBAL SMALLER CAP ‐ JAPAN               Nicholas‐Applegate International Systematic Fund
    manager for:                                                      Allianz RCM Innovation Fund                              Nicholas‐Applegate Small Cap Emerging Countries Series
   Allianz Global Investors Premier Funds                            Allianz RCM Innovation Fund‐FE                            LLC
         Allianz Global High Payout Fund                             Allianz RCM International Opportunities Fund             Nicholas‐Applegate U.S. Convertible Arbitrage Fund
         Allianz Global Twin‐Focus Fund                              ALLIANZ RCM INTERNATIONAL OPPORTUNITIES FUND             Nicholas‐Applegate US Market Neutral Fund LLC‐ Euro
   Allianz Global Investors Taiwan Limited as investment             Allianz RCM Japan Fund                                    Hedge
    manager for:                                                                                                             
                                                                      Allianz RCM Large‐Cap Growth Fund                         OPPENHEIMER QUEST BALANCED VALUE FUND
         Allianz Global Investors Asia Pacific Dynamic Strategy                                                             
                                                                      Allianz RCM Mid‐Cap Fund ‐ Consumer                       OPPENHEIMER QUEST CAPITAL VALUE FUND
          Fund                                                                                                               
                                                                      Allianz RCM North American Equity Growth Fund             OPPENHEIMER QUEST INTERNATIONAL VALUE FUND
         Allianz Global Investors Global Bond Fund                                                                          
                                                                      Allianz RCM Technology Fund ‐ K                           PIMCO INTERNATIONAL VALUE FUND
         Allianz Global Investors Global Emerging Market Fund                                                               
                                                                      Allianz RCM Technology Fund‐ABS                           PIMCO NACM International Fund
         AllianzGI Eco‐Trends Fund
                                                                                               2
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        AllianzGI Quantitative Balanced Fund                       Allianz RCM Total Return Asian Equity Fund                    PIMCO RCM Europe Fund
        Allianz Global Investors Taiwan Money Market Fund          Allianz RCM U.S. Equity Fund ‐ W Shares                       PIMSCV
        Allianz Global Investors Global Biotech Fund               Allianz RCM U.S. High Dividend Plus                           PREMIER VIT OPCAP GLOBAL EQUITY PORTFOLIO
        Allianz Global Investors Taiwan Fund                       Allianz RCM UK Equity Fund                                    PREMIER VIT OPCAP MID CAP PORTFOLIO
        Allianz Global Investors Taiwan Technology Fund            Allianz RCM UK Equity Income Fund                             PREMIER VIT OPCAP RENAISSANCE
        AllianzGI Demographic Trends Fund                          Allianz RCM UK Growth Fund                                    RCM Choice US Equity Fund
        AllianzGI Agricultural Trends Fund                         Allianz RCM UK Index Fund                                     RCM Choice US Equity Fund ‐ F
        AllianzGI Taiwan Intelligence Trends Fund                  Allianz RCM UK Mid‐Cap Fund                                   RCM Disciplined International Equity ‐ RA
        Allianz Global Investors All Seasons Return Fund of        Allianz RCM US Equity Fund                                    RCM Emerging Markets ‐ FE
         Bond Funds                                                 Allianz Structured Alpha Strategy UCITS                       RCM Europe ‐ FE
        Allianz Global Investors China Strategic Growth Fund       Allianz Structured Alpha Strategy UCITS/SSB                   RCM Global Eco Trend Fund
        Allianz Global Investors Global Resources Trends Fund      Allianz Technology Trust PLC                                  RCM GLOBAL EQUITIES FUND
        Allianz Global Investors Rising Asia Fund                  Allianz US Equity Fund ‐ W Shares                             RCM Global Equity ‐ FE
        Allianz Global Investors All Seasons Harvest Fund of       Allianz US Equity Fund (Ireland)                              RCM GLOBAL EQUITY EUR HEDGED
         Bond Funds                                                 Allianz US Equity Fund (LUX)                                  RCM GLOBAL EQUITY GBP HEDGED
        Allianz Global Investors All Seasons Double Income         Allianz US Equity Fund (OEIC)                                 RCM Global Research Growth 130/30 Strategy
         Fund of Funds                                              Allianz US Equity Fund (OEIC) ‐ Equity                        RCM Global Research Growth Equity
        Allianz Global Investors All Seasons Growth Fund of        Allianz US Large Cap Growth                                   RCM Global Resources Alpha Fund
         Funds                                                      Allianz VKA RCM US large Caps Fonds                           RCM Global Technology ‐ A
        Allianz Global Investors Target Income Fund (FOF)          Allianz VKA RCM US Large Caps Fonds                           RCM GLOBAL UNC
   ABL Global Emerging Equity Investment Trust                     ALLIANZ VLBR VEREINTE KRANKEN                                 RCM Health Care Alpha Partners US
   AD Euro Balanced Fund ‐ NACM US Large Cap Value                 AllianzGI Emerging Markets Consumer                           RCM International Equity Fund
   AGI France Creaction 2                                          AllianzGI Emerging Markets Consumer CIT                       RCM International Equity Fund ‐ FE
   AGI France Global Systematic Fund                               AllianzGI Emerging Markets Opportunities Fund                 RCM International Small Cap Fund
   AGI France Global Systematic Fund Hedge                         AllianzGI Emerging Markets Small Cap                          RCM Multi‐Strategy Absolute Return
   AGI Global Growth 130/30 (Long)                                 AllianzGI Global Equity & Convertible Income ‐ INTLEQ         RCM Multi‐Strategy Absolute Return ‐ Segregated Cash
   AGI Global Growth 130/30 (Short)                                AllianzGI Global Equity & Convertible Income ‐ INTLOP          Futures
   AGI GLOBAL UNCONSTRAINED                                        AllianzGI Global Health Sciences Fund                         RCM Small‐Cap ‐ NF
   AGI International All Cap 120/20 (Long)                         AllianzGI Global Managed Volatility                           RCM Strategic Growth Fund
   AGI International All Cap 120/20 (Short)                        AllianzGI Global Managed Volatility Fund                      RCM Strategic Growth Fund‐ OP
   AGI Italia Emerging Markets Systematic                          AllianzGI Global Natural Resources Fund                       RCM Strategic Growth Fund‐ WCP/HC
   AGI Managed Account Equity Shares Series 1                      AllianzGI Global Small Cap Opportunities                      RCM TECHNOLOGY TRUST
   AGI MANAGED ACCOUNT EQUITY SHARES SERIES 1                      AllianzGI Global Small‐Cap Fund                               RCM Technology Trust PLC
   AGI Managed Account Equity Shares Series 1 ‐ Equity             AllianzGI Global Small‐Cap Fund ‐ A                           RCM WELLNESS ex‐Health Care Model
   AGI NACM Global Equity 130/30 (Long)                            AllianzGI Global Small‐Cap Fund ‐ E                           RCM WELLNESS Model
   AGI NACM Global Equity 130/30 (Short)                           AllianzGI Global Small‐Cap Fund ‐ Equity                      RCMSM‐I
   AGI Oppenheimer Capital Global Shares Fund                      AllianzGI Global Small‐Cap Fund ‐ J                           SIT International Equity Trust
   AGI Premier PEA Value Fund                                      AllianzGI Global Water Fund                                   SIT Strategic Equity Trust
   AGI Systematic Emerging                                         AllianzGI Health Sciences Fund ‐ Equity                       SITIET
   AGI Taiwan Rising Asia Fund                                     AllianzGI Income & Growth Equity                              Systematic International Core Equity
   AGI US Systematic SMID 130/30 (Long)                            AllianzGI International & Premium Strategy Fund               Systematic International Value Equity
   AGI US‐EAFE Value Equity                                        AllianzGI International & Premium Strategy Fund ‐ INTLEQ      The Korea Fund
   AGI US‐Global Equity                                            AllianzGI International Managed Volatility Fund               US GLOBAL ECO TRENDS
   AGI US‐Global Value Equity                                      AllianzGI Intl & Premium Strategy ‐ Intl Options              US INTL SYS TRANS
   AGIFR                                                           AllianzGI Large‐Cap Growth Fund ‐ Equity                      VGL RCM US Large Cap
   AIM US Equity                                                   AllianzGI Mid‐Cap Fund                                        VGL RCM US Large Cap ‐ Q portfolio
   ALLACV                                                          AllianzGI Mid‐Cap Fund ‐ LL                                   Vision ADAM Completion

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    Allianz US Equity Fund (Ireland) ‐ Equity                           AllianzGI Mid‐Cap Fund ‐ SK                                    Vision OPCAP Small Cap Value
    Allianz AGIC Global Fund                                            AllianzGI Technology Fund                                      Vision‐ RCM Currency Alpha
    Allianz AGIC Growth Fund                                            AllianzGI Technology Fund‐DAN                                  Vision RCM French Equities
                                                                         AllianzGI Technology Fund‐HUA                                  Vision RCM Systematic Pairs
                                                                         AllianzGI Technology Fund‐MIK

3.   Allianz SE
    Allianz SE
4.   Anadarko Petroleum Corporation
    Anadarko Petroleum Corporation                                     Anadarko Kenya Co.                                              Anadarko Retirement Plan
    Anadarko (SL) Company                                              Anadarko Liberia Block 10 Co.                                   FTI DIT Anadarko Petroleum Corporation
    Anadarko Algeria Company LLC                                       Anadarko Liberia Co.                                            Kerr‐McGee Benin Consortium
    Anadarko Cote D'Ivoire Co.                                         Anadarko Morocco ASSA Company                                   Kerr‐McGee Corporation
    Anadarko International Energy                                      Anadarko New Zealand Co.                                        Kerr‐McGee Corp., Allocation
    Anadarko International Holdings                                    Anadarko NZ Taranaki Co.                                        Kerr‐McGee Indonesia Holdings, Ltd.
    Anadarko International O&G Company                                 Anadarko Offshore Holding Company LLC                           Kerr‐McGee Thailand Ltd.
    Anadarko International Services                                    Anadarko Petroleum Suez Production                              Western Gas Resources Inc.
5.   Anchorage Capital Group, LLC
    Anchorage Capital Group, LLC                                       Anchorage Illiquid Opportunities Offshore Master II, L.P.       Anchorage Short Credit Offshore Master Fund, Ltd.
    Anchorage Capital Master Offshore LTD                              Anchorage Illiquid Opportunities Offshore Master III, L.P.      GRF Master Fund, L.P
    Anchorage Capital Master Offshore LTD/ANCOFF‐NYC                   Anchorage Illiquid Opportunities Offshore Master IV, L.P.       PCI Fund LLC
    Anchorage Capital Partners, L.P.                                   Anchorage Illiquid Opportunities Offshore Master, L.P.          Anchorage Short Credit Offshore Master Fund II, L.P.
    Anchorage Crossover Credit Finance, LTD                            Anchorage MSW Structured Credit Master, L.P.                    GRF Master Fund II, L.P.
    Anchorage Crossover Credit Offshore Master Fund, LTD
6.   ArcelorMittal Treasury
    ArcelorMittal Treasury
7.   AtomVest Master Fund Limited
    AtomVest Master Fund Limited
8.   Ayrshire Metal Products (Daventry) Ltd.
    Ayrshire Metal Products (Daventry) Ltd.
9.   Banco Davivienda Salvadoreño, S.A.
    Banco Davivienda Salvadoreño, S.A.
10. BlackRock, Inc., both on its own behalf and on behalf of its affiliates and subsidiaries
    Blackrock, Inc.                                                    Emerging Markets Alpha Tilts Fund (Jacket)                      iShares MSCI Emerging Markets Minimum Volatility UCITS
    AA 500 Morgan Stanley Long CP                                      Emerging Markets Alpha Tilts Fund B (Jacket)                     ETF
    Active International Equity Fund ‐ Jacket                          Emerging Markets Equity Index Master Fund                       iShares MSCI Emerging Markets Small Cap
    Active International Equity Fund B ‐ Jacket                        Emerging Markets Equity Index Plus Fund                         iShares MSCI Emerging Markets Small Cap UCITS ETF
    ACWI ex‐US ex‐Tobacco B1                                           Emerging Markets ex‐Controversial Weapons Equity Index          iShares MSCI Emerging Markets Small‐Cap ETF
    AIEA Overlay                                                        Fund B                                                          iShares MSCI Emerging Markets UCITS ETF
    AIEB Overlay                                                       Emerging Markets Index Non‐Lendable Fund                        iShares MSCI Emerging Markets UCITS ETF (Acc)
    Alpha Advantage 1000 Fund B ‐ Aggregate                            Emerging Markets Index Non‐Lendable Fund B                      iShares MSCI Emerging Markets UCITS ETF (Dist)
    Alpha Advantage 3000 Fund ‐ Aggregate                              Emerging Markets Local Bond Index Fund B                        iShares MSCI EMU ETF
    Alpha Advantage 3000 Fund B ‐ Aggregate                            Emerging Markets Opportunities LR Fund ‐ Aggregate              iShares MSCI Europe ex‐EMU UCITS ETF

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   Alpha Advantage 500 Fund ‐ Aggregate                       Emerging Markets Opportunities MR Fund ‐ Aggregate              iShares MSCI Europe ex‐UK UCITS ETF
   Alpha Advantage 500 Fund B ‐ Aggregate                     Emerging Markets Opportunities MR Fund B ‐ Aggregate            iShares MSCI Europe Financials ETF
   Alpha Advantage International Fund ‐ Aggregate             Emerging Markets SF Index Fd                                    iShares MSCI Europe Minimum Volatility U
   Alpha Advantage Japan Fund                                 Emerging Markets Small Capitalization Equity Index Fund         iShares MSCI Europe Minimum Volatility UCITS ETF
   Alpha Advantage Japan Fund B                               Emerging Markets Small Capitalization Equity Index Non‐         iShares MSCI Europe SC ETF
   Alpha Advantage US Fund B ‐ Aggregate                       Lendable Fund                                                   iShares MSCI Europe Small‐Cap ETF
   Ascent Life Sovereign Screened Fund                        Emerging Markets Small Capitalization Equity Index Non‐         iShares MSCI Europe UCITS ETF (Acc)
   Asia ex‐J Mkt Neut Fd B                                     Lendable Fund B                                                 iShares MSCI Europe UCITS ETF (Dist)
   Barclays Active Currency Fund                              Emerging Markets Sudan Free Equity Index Fund                   iShares MSCI Eurozone ETF
   BCIF ‐ 100 UK equity Tracker Fund                          Emerging Mkts Index NL Fund                                     iShares MSCI Far East Financials ETF
   BCIF ‐ 350 UK Equity Tracker Fund                          Emerging Mkts Index NL Fund B                                   iShares MSCI Finland Capped ETF
   BCIF ‐ Balanced Managed Fund ‐ Aggregate                   EMSI Non‐Lendable Fund                                          iShares MSCI France ETF
   BCIF ‐ Continental European Equity Tracker Fund            EMSI Non‐Lendable Fund B                                        iShares MSCI Frontier 100 ETF
   BCIF ‐ Emerging Markets Equity Tracker F                   Equity Dividend (Active Stock Sleeve)                           iShares MSCI GCC ex‐Saudi Arabia UCITS ETF
   BCIF ‐ Emerging Markets Equity Tracker Fund                Equity Dividend Fund                                            iShares MSCI Germany ETF
   BCIF ‐ Global Property Sec EQTracker Fd                    EUR xControversial Weapons B                                    iShares MSCI Germany SC ETF
   BCIF ‐ Global Property Securities Equity Tracker Fund      Euro Ex‐UK Alpha Tilts Fund                                     iShares MSCI Germany Small‐Cap ETF
   BCIF ‐ Japan Equity Tracker Fund                           Euro Ex‐UK Alpha Tilts Fund B                                   iShares MSCI Gl Ag Producers ETF
   BCIF ‐ North American Equity Tracker Fun                   Euro Ex‐UK Alpha Tilts Fund L                                   iShares MSCI Gl Energy Prod ETF
   BCIF ‐ North American Equity Tracker Fund                  Euro exUK Alpha Tilts Fund O                                    iShares MSCI Gl Gold Miners ETF
   BCIF ‐ Overseas Corporate Bond Tracker Fund                Europe Alpha Tilts Fund                                         iShares MSCI Gl Mtls & Min Prod ETF
   BCIF ‐ Overseas Government Bond Tracker Fund               Europe Alpha Tilts Fund L                                       iShares MSCI Gl Silver Miners ETF
   BCIF ‐ Pacific ex Japan Equity Tracker Fund                Europe Alpha Tilts Fund O                                       iShares MSCI Global Agriculture Producers ETF
   BCIF ‐ UK Equity Tracker Fund                              Europe ex‐Controversial Weapons Equity Index Fund B             iShares MSCI Global Energy Producers ETF
   BCIF ‐ US Equity Tracker Fund                              Europe Ex‐UK Alpha Tilts Fund B                                 iShares MSCI Global Gold Miners ETF
   BGF Asean Leaders Fund ‐ Aggregate                         EuropeAlphaTiltsNon‐LenFundB                                    iShares MSCI Global Metals & Mining Producers ETF
   BGF Asia Pacific Equity Income Fund ‐ Aggregate            Fixed Income GlobalAlpha Master Fund Ltd.                       iShares MSCI Global Silver Miners ETF
   BGF Asian Dragon Fund ‐ Aggregate                          Frontier Markets ESG Screened Fund B ‐ Jacket                   iShares MSCI Hong Kong ETF
   BGF Asian Growth Leaders Fund ‐ AGG                        Frontier Markets ex‐Gulf Cooperation Council Countries ESG      iShares MSCI Hong Kong SC ETF
   BGF Asian Local Bond Fund ‐ AGG                             Screened Fund B                                                 iShares MSCI Indonesia ETF
   BGF Asian Tiger Bond Fund                                  FT‐A World Indx Fd B‐Irel                                       iShares MSCI Ireland Capped ETF
   BGF China Bond Fund                                        FTSE RAFI EM Index NL Fund                                      iShares MSCI Ireland Mkt Idx
   BGF China Fund ‐ Aggregate                                 FTSE RAFI Emerging Markets Index Non‐Lendable Fund              iShares MSCI Israel Capped ETF
   BGF Continental European Flexible Fund                     Fundamental Large Cap Growth (Active Stock Sleeve)              iShares MSCI Italy Capped ETF
   BGF Emerging Europe Fund ‐ Aggregate                       Funds SA‐Intl Eq Portfolio Hedge                                iShares MSCI Japan CHF Hedged UCITS ETF (Acc) Agg
   BGF Emerging Markets Bond Fund ‐ Aggregate                 GAL ACM (2)                                                     iShares MSCI Japan ETF
   BGF Emerging Markets Corporate Bond Fund ‐ Aggregate       GAL ACM HSBC                                                    iShares MSCI Japan EUR Hedged UCITS ETF (Acc)
   BGF Emerging Markets Equity Income Fund                    GAL ACM RBS                                                     iShares MSCI Japan GBP Hedged UCITS ETF (Acc)
   BGF Emerging Markets Fund ‐ Global Emerging Markets        GAL ACM UBS                                                     iShares MSCI Japan Small Cap UCITS ETF (
    Portfolio                                                  GAL HSBC FX                                                     iShares MSCI Japan Small Cap UCITS ETF (Dist)
   BGF Emerging Markets Investment Grade Bond Fund ‐          GAL Short Horizon Currency CP                                   iShares MSCI Japan Small‐Cap ETF
    Aggregate                                                  GAL UBS FX                                                      iShares MSCI Japan UCITS ETF (Acc)
   BGF Emerging Markets Local Currency Bond Fund ‐            GLOBAL AGG EX‐USD BOND INDX FUND B                              iShares MSCI Japan UCITS ETF (Dist)
    Aggregate                                                  Global Aggregate ex‐USD Currency Hedged Index Fund              iShares MSCI Japan USD Hedged UCITS ETF (Acc) AGG
   BGF Euro Bond Fund ‐ Aggregate                             Global Alpha Tilts Fund B                                       iShares MSCI Kokusai ETF
   BGF Euro Corporate Bond Fund ‐ AGG                         Global Ascent (Sterling) Ltd.                                   iShares MSCI Korea UCITS ETF (Dist)
   BGF Euro Short Duration Bond Fund ‐ Aggregate              Global Ascent Limited                                           iShares MSCI Malaysia ETF

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   BGF Euro‐Markets Fund ‐ Aggregate                            Global Ascent Ltd ECM                                       iShares MSCI Mexico Capped ETF
   BGF European Equity Income Fund ‐ Aggregate                  Global Dividend Income Fund                                 iShares MSCI Mexico IMI Capped UCITS ETF
   BGF European Focus Fund ‐ Aggregate                          Global Dividend Income Fund B                               iShares MSCI Netherlands ETF
   BGF European Fund ‐ Aggregate                                Global Equity Focus Fund B                                  iShares MSCI New Zealand Capped ETF
   BGF European Special Situations Fund ‐ Aggregate             Global Equity Mandate Fund B                                iShares MSCI North America UCITS ETF
   BGF European Value Fund ‐ Aggregate                          Global Ex‐US Alpha Tilts Fund                               iShares MSCI Norway Capped ETF
   BGF Fixed Income Global Opportunities Fund ‐ Aggregate       Global High Yield Bond Index Fund B                         iShares MSCI NZ Capped ETF
   BGF Flexible Multi‐Asset Fund ‐ Aggregate                    Global Market Neutral Fund B                                iShares MSCI Pacific ex Japan ETF
   BGF Global Allocation Fund ‐ Aggregate                       Global Multi‐cap Equity Fund B                              iShares MSCI Pacific ex‐Japan UCITS ETF
   BGF Global Corporate Bond Fund ‐ Aggregate                   Global Treasury ex‐U.S. Screened USD Hedged Fund E          iShares MSCI Pacific ex‐Japan UCITS ETF (Dist)
   BGF Global Dynamic Equity Fund ‐ Aggregate                   GMI Active Currency                                         iShares MSCI Philippines ETF
   BGF Global Enhanced Equity Yield Fund ‐ Aggregate            GMI B Tilts Component Account                               iShares MSCI Poland Capped ETF
   BGF Global Equity Fund ‐ Aggregate                           GMN B ‐ Asia ex Japan Component‐UBS                         iShares MSCI Poland UCITS ETF
   BGF Global Equity Income Fund ‐ Aggregate                    GMN B ‐ Asia ex‐Japan Component ‐GS                         iShares MSCI Singapore ETF
   BGF Global Government Bond Fund ‐ Aggregate                  GMN B ‐ Asia ex‐Japan Component ‐MS                         iShares MSCI Singapore SC ETF
   BGF Global High Yield Bond Fund ‐ Aggregate                  GMN B ‐ EM Comp Long ‐ MS                                   iShares MSCI South Africa
   BGF Global Inflation Linked Bond Fund                        GMN B Pan Asia UBS Comp Long                                iShares MSCI South Africa ETF
   BGF Global Multi‐Asset Income Fund ‐ Aggregate               Gold Fund                                                   iShares MSCI South Africa UCITS ETF
   BGF Global Opportunities Fund ‐ Aggregate                    Gold Metal Open Mother Fund                                 iShares MSCI Spain Capped ETF
   BGF India Fund ‐ Equities Portfolio                          i‐mizuho Developed Markets Inflation Linked Bond Index      iShares MSCI Sweden ETF
   BGF Japan Flexible Equity Fund ‐ Aggregate                   India Equity Fund Aggregate                                 iShares MSCI Switz Capped ETF
   BGF Japan Small & MidCap Opportunities Fund ‐ Aggregate      International Alpha Tilts Fund                              iShares MSCI Switzerland Capped ETF
   BGF Latin American Fund ‐ Aggregate                          International Alpha Tilts Fund B                            iShares MSCI Taiwan ETF
   BGF Natural Resources Growth & Income Fund                   International Equity Index Plus Fund Jacket                 iShares MSCI Taiwan UCITS ETF
   BGF New Energy Fund ‐ Aggregate                              International Equity Index Plus Fund B ‐ Jacket             iShares MSCI Thailand Capped ETF
   BGF North American Equity Income Fund                        International Multi‐cap Equity Fund                         iShares MSCI Turkey UCITS ETF
   BGF Pacific Equity Fund                                      International Tilts Master Portfolio                        iShares MSCI Turkey ETF
   BGF Swiss Small & MidCap Opportunities Fund                  Intl Active Stock Cur Hedged                                iShares MSCI United Kingdom ETF
   BGF United Kingdom Fund                                      Intl Alpha Tilts Fd                                         iShares MSCI United Kingdom SC ETF
   BGF US Dollar Bond Fund ‐ AG                                 Intl Alpha Tilts RSLFund                                    iShares MSCI United Kingdom Small‐Cap ETF
   BGF US Dollar High Yield Bond Fund ‐ Aggregate               Intl Sudan Divestment Fund                                  iShares MSCI USA Min Vol
   BGF US Dollar Short Duration Bond Fund ‐ Agg                 Intl Tilts Hedged CAD Fund B                                iShares MSCI USA Minimum Volatility Index Fund
   BGF US Growth Fund ‐ Aggregate                               iShares $ Corporate Bond UCITS ETF                          iShares MSCI World CHF Hedged UCITS ETF (Acc)
   BGF US Small & MidCap Opportunities Fund ‐ Aggregate         iShares $ High Yield Corporate Bond UCITS ETF               iShares MSCI World ETF
   BGF World Agriculture Fund ‐ Aggregate                       iShares $ Treasury Bond 1‐3yr UCITS ETF                     iShares MSCI World EUR Hedged UCITS ETF (Acc)
   BGF World Bond Fund ‐ Aggregate                              iShares $ Treasury Bond 7‐10yr UCITS ETF                    iShares MSCI World GBP Hedged UCITS ETF (Acc)
   BGF World Energy Fund ‐ Aggregate                            iShares 1‐3 Year International Treasury Bond ETF            iShares MSCI World Index Fund
   BGF World Financials Fund ‐ Aggregate                        iShares 1‐3 Yr Intl Treasury Bd ETF                         iShares MSCI World Islamic UCITS ETF
   BGF World Gold Fund ‐ Aggregate                              iShares 1‐5 Year Laddered Corporate Bond Index Fund         iShares MSCI World Minimum Volatility UC
   BGF World Healthscience Fund ‐ Aggregate                     iShares AEX UCITS ETF                                       iShares MSCI World Minimum Volatility UCITS ETF
   BGF World Mining Fund                                        iShares Agribusiness UCITS ETF                              iShares MSCI World UCITS ETF (Acc)
   BGF World Technology Fund                                    iShares Alternative Completion PB                           iShares MSCI World UCITS ETF (Dist)
   BGICL CoreActive Long Bond Fd                                iShares Asia 50 ETF                                         iShares NAFTRAC
   BGICL Global Ascent Fd                                       iShares Asia Dev Real Estate ETF                            iShares NASDAQ 100 (CAD‐Hed)
   BGICL Global Market Selection ‐ TMP                          iShares Asia Pacific Dividend UCITS ETF                     iShares NASDAQ 100 Index Fund (CAD‐Hedged)
   BGICL Hed Syn EAFE Index Fd                                  iShares Asia Property Yield UCITS ETF                       iShares NASDAQ‐100 (R) (DE)
   BGICL Heg Syn US Index Fd                                    iShares Asia/Pacific Dividend ETF                           iShares NASDAQ‐100 UCITS ETF (DE)

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   BGICL U.S. Currency Overlay Fd                                   iShares AXJ MSCI APEX Mid Cap                                    iShares Nikkei 225 UCITS ETF (DE)
   BGICL Unhed Syn EAFE Index Fd                                    iShares AXJ MSCI APEX Small Cap                                  iShares North America Real Estate ETF
   BGICL Unhed Syn US Eq Index Fd                                   iShares AXJ MSCI Asia APEX 50                                    iShares NYSE Composite ETF
   BGICL Unheg Syn R3000 Index Fd                                   iShares BRIC 50 UCITS ETF                                        iShares Oil & Gas Exploration & Producti
   BGICL Unheg Syn US Eq Index CL A                                 iShares BRIC Index Fund                                          iShares Oil & Gas Exploration & Production UCITS ETF
   BGICL Unheg Syn US Eq Index CL D                                 iShares Broad Emerging Markets                                   iShares Oil Sands Index Fund
   BGIF ‐ BlackRock Emerging Markets Equity Index Fund              iShares Broad Emerging Markets Fund                              iShares S&P 500 CHF Hedged UCITS ETF (Acc)
   BGIF ‐ BlackRock Europe Equity Index Fund                        iShares Canadian Fundamental Index Fund                          iShares S&P 500 EUR Hedged UCITS ETF (Acc)
   BGIF ‐ BlackRock Global Government Bond Index Fund               iShares Canadian Growth Index ETF                                iShares S&P 500 GBP Hedged UCITS ETF (Acc)
   BGIF ‐ BlackRock Japan Equity Index Fund                         iShares CDN Fundamental Ind Fd                                   iShares S&P 500 Index CADHED
   BGIF ‐ BlackRock North America Equity Index Fund                 iShares China ETF                                                iShares S&P 500 Index ETF
   BGIF ‐ BlackRock Pacific ex Japan Equity Index Fund              iShares China Index ETF                                          iShares S&P 500 UCITS ETF (Dist)
   BGIF ‐ BlackRock World Equity Index Fund                         iShares China Index Fund                                         iShares S&P CNX Nifty India Index
   BGIF ‐ BR Pacific ex Japan Equity Index                          iShares China Large Cap UCITS ETF                                iShares S&P Global Water Index Fund
   BGIS Emerging Markets Local Currency Bond Index Portfolio        iShares China Large‐Cap ETF                                      iShares S&P Latin Am 40 Index Fd
   BGIS Global Equity Income Portfolio                              iShares Conservative Core PB Fund                                iShares S&P SmallCap 600 UCITS ETF
   BGIS Income Strategies Portfolio ‐ Aggregate                     iShares Core Euro Corporate Bond UCITS ETF                       iShares S&P TSX Canadian Dividend Aristocrats Index Fund
   BIJF ‐ Dynamic Diversified Growth Fund ‐ Aggregate               iShares Core Euro Government Bond UCITS ETF                      iShares S&P US Dividend Growers Index Fund (CAD‐Hedged)
   BlackRock Absolute Return Bond Fund ‐Aggregate                   iShares Core GBP Corporate Bond UCITS ETF                        iShares S&P/TSX 60 Index Fund
   BlackRock Advantage Global Fund, Inc.                            iShares Core MSCI EAFE ETF                                       iShares S&P/TSX CAN Div Arist
   BlackRock Advantage International Fund                           iShares Core MSCI EAFE IMI Index ETF                             iShares S&P/TSX Capped Comp Index
   BlackRock Advantage Large Cap Growth Fund ‐ Aggregate            iShares Core MSCI EM IMI ETF                                     iShares S&P/TSX Capped Energy Index
   BlackRock Advantage U.S. Total Market V.I. Fund of BLK           iShares Core MSCI Emerging Markets ETF                           iShares S&P/TSX Capped Energy Index Fund
    Variable Series Fund                                             iShares Core MSCI Emerging Markets IMI Index ETF                 iShares S&P/TSX Capped Information Technology Index
   BlackRock All‐Cap Energy & Resources Portfolio                   iShares Core MSCI Japan IMI UCITS ETF                             Fund
   BlackRock Appreciation Strategy Fund, Ltd. ‐ Aggregate           iShares Core MSCI Total Int Stk ETF                              iShares S&P/TSX Capped IT Index Fund
   BlackRock Balanced Capital Portfolio of BlackRock Series         iShares Core MSCI Total International Stock ETF                  iShares S&P/TSX Capped Materials Index Fund
    Fund, Inc.                                                       iShares Core MSCI World UCITS ETF                                iShares S&P/TSX Capped Mats Index
   BlackRock Balanced Growth Portfolio Fund ‐ Aggregate             iShares Core S&P 500 Index ETF                                   iShares S&P/TSX Capped REIT Index
   BlackRock Canada CorePlus Long Bond Fund                         iShares Core S&P/TSX Capped Composite Index ETF                  iShares S&P/TSX Capped REIT Index Fund
   BlackRock Capital Appreciation Fund Inc                          iShares Developed Markets Property Yield                         iShares S&P/TSX Comp Idx ETF
   BlackRock Capital Appreciation Portfolio (Ins ‐ Series)          iShares Developed Markets Property Yield UCITS ETF               iShares S&P/TSX Completion Index
   BlackRock Capital Appreciation V.I. Fund (Ins ‐ Var Ser)         iShares Developed World ex‐UK UCITS ETF                          iShares S&P/TSX Completion Index ETF
   BlackRock Capital Investment Corp. ‐ AGG                         iShares Div Alt ‐ RBS Prime Brokerage Ac                         iShares S&P/TSX Glob Base Met
   BlackRock Commodities Income Investment Trust plc                iShares DJC Value Index Fund                                     iShares S&P/TSX Global Base Metals Index Fund
   BlackRock Commodity Strategies Fund ‐ Aggregate                  iShares Dow Jones Asia Pacific Select Di                         iShares S&P/TSX Global Gold Index
   BlackRock Continental European Fund                              iShares Dow Jones Asia Pacific Select Dividend 30 UCITS ETF      iShares S&P/TSX Global Gold Index Fund
   BlackRock Continental European Income Fund ‐ AGG                  (DE)                                                             iShares S&P/TSX Global Mining Index Fund
   BlackRock Core Bond Portfolio                                    iShares Dow Jones Canada Select Value Index Fund                 iShares S&P/TSX NA PrfStk Fnd
   BlackRock Core Bond Trust ‐ Aggregate                            iShares Dow Jones China Offshore 50 (DE)                         iShares S&P/TSX North American Preferred Stock Index
   Blackrock Core Plus Global Corporate Bond Fund ‐ Agg             iShares Dow Jones China Offshore 50 UCITS ETF (DE)                Fund (CAD‐Hedged)
   BlackRock Corporate Bond Fund                                    iShares Dow Jones Europe Sustainability                          iShares S&P/TSX SmallCap Index Fund
   BlackRock Corporate High Yield Fund Inc.                         iShares Dow Jones Europe Sustainability Screened UCITS           iShares S&P/TSX Venture Fund
   BlackRock Credit Allocation Income Trust (Preferred Sleeve)       ETF                                                              iShares Short Maturity Bond ETF
   BlackRock Credit Strategies Income Fund ‐ Aggregate              iShares Dow Jones Global Sustainability                          iShares Silver Bullion ETF
   BlackRock Debt Strategies Fund Inc.                              iShares Dow Jones Global Sustainability Screened UCITS ETF       iShares SLI UCITS ETF (DE)
   BlackRock Defined Opportunity Credit Trust                       iShares Dow Jones Global Titans 50 (DE)                          iShares SMI (DE)

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   BlackRock Developed Markets Bond Index Mother Fund                  iShares Dow Jones Global Titans 50 UCITS ETF (DE)              iShares SP Global Water Ind Fd
   BlackRock Dynamic Diversified Growth Fund ‐ Aggregate               iShares Dow Jones Industrial Average (DE                       iShares SPUSDiv Gwrs Ind CDHgd
   BlackRock EAFE A Multi‐Country Portfolio                            iShares Dow Jones Industrial Average UCITS ETF (DE)            iShares STOXX Europe 50 (DE)
   BlackRock Emerging Europe plc                                       iShares Dow Jones U.S. Select Dividend                         iShares STOXX Americas 600 Real Estate C
   BlackRock Emerging Markets Dividend Fund                            iShares Dow Jones U.S. Select Dividend UCITS ETF (DE)          iShares STOXX Asia Pacific 600 Real Estate Cap UCITS ETF
   BlackRock Emerging Markets Flexible Dynamic Bond                    iShares EM Infrastructure ETF                                   (DE)
    Portfolio of BlackRock Fun                                          iShares EM Local Currency Bd ETF                               iShares STOXX Asia/Pacific 600 Real Esta
   BlackRock Emerging Markets Fund                                     iShares Emerging Asia Local Government Bond UCITS ETF          iShares STOXX EU Enlarged 15 (DE)
   BlackRock Emerging Markets Fund Inc..                               iShares Emerging Market Infrastructure U                       iShares STOXX EU Enlarged 15 UCITS ETF (DE)
   BlackRock Energy & Resources Portfolio                              iShares Emerging Market Infrastructure UCITS ETF               iShares STOXX Europe 50 UCITS ETF
   BlackRock Energy and Resources Trust                                iShares Emerging Markets Dividend ETF                          iShares STOXX Europe 50 UCITS ETF (DE)
   BlackRock Enhanced Capital and Income Fund, Inc.                    iShares Emerging Markets Dividend UCITS                        iShares STOXX Europe 600 (DE) (large siz
   BlackRock Enhanced Equity Dividend Trust                            iShares Emerging Markets Dividend UCITS ETF                    iShares STOXX Europe 600 Automobiles & P
   BlackRock Enhanced Government Fund Inc.                             iShares Emerging Markets Government Bond Index Fund            iShares STOXX Europe 600 Automobiles & Parts UCITS ETF
   BlackRock Enhanced International Dividend Trust ‐                    (LU)                                                            (DE)
    Aggregate                                                           iShares Emerging Markets Infrastructure ETF                    iShares STOXX Europe 600 Banks (DE)
   BlackRock Equity Dividend Fund                                      iShares Emerging Markets Local Currency Bond ETF               iShares STOXX Europe 600 Banks UCITS ETF (DE)
   BlackRock Equity Dividend V.I. Fund                                 iShares Emerging Markets Local Government Bond UCITS           iShares STOXX Europe 600 Basic Resources
   BlackRock EuroFund                                                   ETF                                                            iShares STOXX Europe 600 Basic Resources UCITS ETF (DE)
   BlackRock European Absolute Alpha Fund                              iShares Euro Aggregate Bond UCITS ETF                          iShares STOXX Europe 600 Chemicals (DE)
   BlackRock European Dynamic Fund ‐ AGG                               iShares Euro Corporate Bond 1‐5yr UCITS ETF                    iShares STOXX Europe 600 Chemicals UCITS ETF (DE)
   BlackRock Fixed Income Global Opportunities Fund                    iShares Euro Corporate Bond ex‐Financials 1‐5yr UCITS ETF      iShares STOXX Europe 600 Construction &
   BlackRock Floating Rate Income Portfolio                            iShares Euro Corporate Bond ex‐Financials UCITS ETF            iShares STOXX Europe 600 Construction & Materials UCITS
   BlackRock Floating Rate Income Strategies Fund Inc.                 iShares Euro Corporate Bond Large Cap UCITS ETF                 ETF (DE)
   BlackRock Floating Rate Income Trust                                iShares Euro Covered Bond UCITS ETF                            iShares STOXX Europe 600 Financial Servi
   BlackRock Frontier Markets Fund ‐ Jacket                            iShares EURO Dividend UCITS ETF                                iShares STOXX Europe 600 Financial Services UCITS ETF (DE)
   BlackRock Funds II High Yield Bond Portfolio                        iShares Euro Government Bond 10‐15yr UCITS ETF                 iShares STOXX Europe 600 Food & Beverage
   BlackRock Funds II, Inflation Protected Bond Portfolio ‐            iShares Euro Government Bond 1‐3yr UCITS ETF                   iShares STOXX Europe 600 Food & Beverage UCITS ETF (DE)
    Aggregate                                                           iShares Euro Government Bond 15‐30yr UCITS ETF                 iShares STOXX Europe 600 Health Care (DE
   BlackRock Global Aggregate ex‐Japan Fund                            iShares Euro Government Bond 3‐5yr UCITS ETF                   iShares STOXX Europe 600 Health Care UCITS ETF (DE)
   BlackRock Global Allocation Collective Fund                         iShares Euro Government Bond 5‐7yr UCITS ETF                   iShares STOXX Europe 600 Industrial Good
   BlackRock Global Allocation Fund (Aust)                             iShares Euro Government Bond 7‐10yr UCITS ETF                  iShares STOXX Europe 600 Industrial Goods & Services
   BlackRock Global Allocation Fund, Inc                               iShares Euro High Yield Corporate Bond UCITS ETF                UCITS ETF (DE)
   BlackRock Global Allocation Portfolio (Ins ‐ Series)                iShares Euro Inflation Linked Government Bond UCITS ETF        iShares STOXX Europe 600 Insurance (DE)
   BlackRock Global Allocation Variable Series (V.I.) Fund (Ins ‐      iShares EURO STOXX (DE)                                        iShares STOXX Europe 600 Insurance UCITS ETF (DE)
    Var Ser)                                                            iShares EURO STOXX 50 UCITS ETF (Acc)                          iShares STOXX Europe 600 Media (DE)
   BlackRock Global Dividend Portfolio                                 iShares EURO STOXX 50 UCITS ETF (Dist)                         iShares STOXX Europe 600 Media UCITS ETF (DE)
   BlackRock Global Equity Fund ‐ Higher Performance                   iShares EURO STOXX Health Care (DE)                            iShares STOXX Europe 600 Oil & Gas (DE)
    Portfolio                                                           iShares EURO STOXX Mid UCITS ETF                               iShares STOXX Europe 600 Oil & Gas UCITS ETF (DE)
   BlackRock Global Income Fund                                        iShares EURO STOXX Small UCITS ETF                             iShares STOXX Europe 600 Personal & Hous
   BlackRock Global Inflation‐Linked (USD Hedged)                      iShares EURO STOXX UCITS ETF (DE)                              iShares STOXX Europe 600 Personal & Household Goods
   BlackRock Global Long/Short Credit Fund ‐ Aggregate                 iShares EURO Total Market Growth Large U                        UCITS ETF (DE)
   BlackRock Global Long/Short Equity Fund                             iShares EURO Total Market Growth Large UCITS ETF               iShares STOXX Europe 600 Real Estate Cap
   BlackRock Global Market Insight                                     iShares EURO Total Market Value Large UC                       iShares STOXX Europe 600 Real Estate UCITS ETF (DE)
   BlackRock Global Market Insight Fund B ‐ Jacket                     iShares EURO Total Market Value Large UCITS ETF                iShares STOXX Europe 600 Retail (DE)
   BlackRock Global Multi Asset Income Fund ‐ Aggregate                iShares Europe Dev Real Estate ETF                             iShares STOXX Europe 600 Retail UCITS ETF (DE)
   BlackRock Global Opportunities Equity Trust                         iShares Europe Developed Real Estate ETF                       iShares STOXX Europe 600 Technology (DE)

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   BlackRock Global Opportunities V.I. Fund (Ins ‐ Var Ser)         iShares Europe ETF                                             iShares STOXX Europe 600 Technology UCITS ETF (DE)
   BlackRock Global Small Cap Fund                                  iShares European Property Yield UCITS ET                       iShares STOXX Europe 600 Telecommunicati
   BlackRock Gold & General Fund ‐ Natural Resources                iShares European Property Yield UCITS ETF                      iShares STOXX Europe 600 Telecommunications UCITS ETF
   BlackRock Greater Europe Investment Trust plc ‐ Investment       iShares FTSE 100 (DE)                                           (DE)
    Portfolio                                                        iShares FTSE 100 UCITS ETF (DE)                                iShares STOXX Europe 600 Travel & Leisur
   BlackRock Growth & Recovery Fund                                 iShares FTSE 100 UCITS ETF (Dist)                              iShares STOXX Europe 600 Travel & Leisure UCITS ETF (DE)
   BlackRock Health Sciences Master Unit Trust                      iShares FTSE 250 UCITS ETF                                     iShares STOXX Europe 600 UCITS ETF (DE)
   BlackRock Health Sciences Opportunities Portfolio                iShares FTSE China ETF                                         iShares STOXX Europe 600 Utilities (DE)
   BlackRock Health Sciences Trust                                  iShares FTSE MIB UCITS ETF (Dist)                              iShares STOXX Europe 600 Utilities UCITS ETF (DE)
   BlackRock Hedged Global Small Cap Fund                           iShares FTSEurofirst 100 UCITS ETF                             iShares STOXX Europe Large 200 (DE)
   BlackRock High Yield Portfolio of BlackRock Series Fund Inc      iShares FTSEurofirst 80 UCITS ETF                              iShares STOXX Europe Large 200 UCITS ETF (DE)
   BlackRock High Yield V.I. Fund                                   iShares Gbl Real Estate Idx Fd                                 iShares STOXX Europe Mid 200 (DE)
   BlackRock Income and Growth Investment Trust plc.                iShares Gl Consumer Discretionary ETF                          iShares STOXX Europe Mid 200 UCITS ETF (DE)
   BlackRock International Equity Fund ‐ Aggregate ‐ Pending        iShares Gl Inflation‐Linked Bd ETF                             iShares STOXX Europe Select Dividend 30
    Closure                                                          iShares Gl Infrastructure Indx                                 iShares STOXX Europe Select Dividend 30 UCITS ETF (DE)
   BlackRock International Equity Fund ‐ US Equity Portfolio ‐      iShares Glob Hltcar In ETF C‐H                                 iShares STOXX Europe Small 200 (DE)
    Pending Closure                                                  iShares Global 100 ETF                                         iShares STOXX Europe Small 200 UCITS ETF (DE)
   BlackRock International Fund Global Equity                       iShares Global AAA‐AA Government Bond UCITS ETF                iShares STOXX Global Select Dividend 100
   BlackRock International Gold Fund                                iShares Global Ag Index Fund                                   iShares STOXX Global Select Dividend 100 UCITS ETF (DE)
   BlackRock International Opportunities Portfolio                  iShares Global Agriculture Index Fund                          iShares STOXX North America 600 Real Estate Cap UCITS ETF
   BlackRock International V.I. Fund of BLK Variable Series         iShares Global Clean Energy ETF                                 (DE)
    Fund                                                             iShares Global Clean Energy UCITS ETF                          iShares TecDAX (R) (DE)
   BlackRock Korea Emerging Europe Fund ‐ Master                    iShares Global Completion PB Fund                              iShares TecDAX UCITS ETF (DE)
   BlackRock Korea Latin American Fund ‐ Master                     iShares Global Consumer Discretionary ETF                      iShares U.S. Corporate Bond CADHED
   BlackRock Korea World Energy Fund ‐ Master                       iShares Global Consumer Staples ETF                            iShares U.S. High Dividend Equity Index ETF (CAD‐Hedged)
   BlackRock Korea World Gold Fund ‐ Master                         iShares Global Corporate Bond EUR Hedged UCITS ETF             iShares U.S. High Yield CADHED
   BlackRock Korea World Mining Fund ‐ Master                       iShares Global Corporate Bond UCITS ETF                        iShares U.S. High Yield Bond Index ETF (CAD‐Hedged)
   BlackRock Latin America Fund Inc.                                iShares Global Energy ETF                                      iShares US Aggregate Bond UCITS ETF
   BlackRock Latin American Investment Trust plc                    iShares Global Financials ETF                                  iShares US Fundamental Index ETF
   BlackRock LBG DC 'A' Fund ‐ Aggregate                            iShares Global Government Bond UCITS ETF                       iShares US Hi Div Eq CAD‐Hed
   BlackRock Limited Duration Income Trust ‐ Aggregate              iShares Global Healthcare ETF                                  iShares US SmallCap Inx ETF CAD‐Hdg
   BlackRock Long‐Horizon Equity Fund                               iShares Global High Yield Corp Bond GBP Hedged UCITS ETF       iShs CoreS&P/TSX Comp High Div Idx
   BlackRock Low Duration Bond Portfolio ‐ Aggregate                iShares Global High Yield Corp Bond UCITS ETF                  Japan Alpha Tilts Fd B
   BlackRock Managed Income Fund                                    iShares Global High Yield Corporate Bond ETF                   Japan Alpha Tilts Fund
   Blackrock Managed Volatility Fund                                iShares Global Industrials ETF                                 Japan Alpha Tilts Fund L
   BlackRock Managed Volatility Fund I                              iShares Global Inflation Linked Government Bond UCITS ETF      Japan Alpha Tilts Fund O
   BlackRock Managed Volatility Fund II                             iShares Global Inflation‐Linked Bond ETF                       Japan ex‐Controversial Weapons Equity Index Fund B
   BlackRock Managed Volatility Fund III                            iShares Global Infrastructure ETF                              JPN xControversial Weapons B
   BlackRock Managed Volatility V.I. Fund of BlackRock              iShares Global Infrastructure Index Fund                       JTSB #65429‐0019 Global Bond
    Variable Series Fund                                             iShares Global Infrastructure UCITS ETF                        Large Cap Active Stock Trdg
   BlackRock Market Advantage Strategy Fund                         iShares Global Materials ETF                                   LDAC Plus
   BlackRock Mid Cap Dividend Fund of BlackRock Mid Cap             iShares Global Monthly Dividend Index ETF (CAD‐Hedged)         LifePath Dynamic 2020 Portfolio ‐ Aggregate
    Dividend Series, Inc.                                             AGG                                                            LifePath Dynamic 2030 Portfolio ‐ Aggregate
   BlackRock Mid‐Cap Growth Equity Portfolio                        iShares Global Nuclear Energy ETF                              LifePath Dynamic 2040 Portfolio ‐ Aggregate
   BlackRock Monthly Income Fund                                    iShares Global Real Estate Index Fund                          LifePath Dynamic Retirement Portfolio ‐ Aggregate
   BlackRock MSCI ACWI Minimum Volatility Index Fund                iShares Global Tech ETF                                        Long Duration Alpha Plus Bond Fund
   BlackRock MSCI Canada Small Cap Equity Index Fund                iShares Global Telecom ETF                                     Long Duration Alpha Plus Fund

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   BlackRock MSCI Canada Small Cap Equity Index Fund B            iShares Global Timber & Forestry ETF                        Long Duration AlphaCredit Plus Bond Fund
   BlackRock MSCI Canada Small Cap Equity Index Non‐              iShares Global Timber & Forestry UCITS E                    Market Advantage Collective Non‐Lendable Fund
    Lendable Fund                                                  iShares Global Timber & Forestry UCITS ETF                  Market Advantage, Ltd.
   BlackRock MSCI EAFE Equity Index Non‐Lendable Fund             iShares Global Utilities ETF                                Master International Index Series of Quantitative Master
   BlackRock MSCI EAFE Equity Index Non‐Lendable Fund B           iShares Global Water UCITS ETF                               Series LLC
   BlackRock MSCI EAFE Equity Index RSL Fund                      iShares Gold Bullion ETF                                    Master Intl Index QMST
   BlackRock MSCI EAFE Small Cap Equity Index Fund                iShares Gold Producers UCITS ETF                            Master Total Return Portfolio of Master Bond LLC ‐
   BlackRock MSCI EAFE Small Cap Equity Index Fund B              iShares Growth Core PB Fund                                  Aggregate
   BlackRock MSCI EAFE Small Cap Equity Index Non‐Lendable        iShares India Index ETF                                     MIP International Index
    Fund                                                           iShares INMEX Total Return TR                               MIP Lifepath 2010
   BlackRock MSCI EMU IMI Index Fund B                            iShares INMEX Total Return TRAC                             MSCI Canada Small Cap Index Fund
   BlackRock MSCI Eq NL B Canada                                  iShares International Dev Real Estate ET                    MSCI Canada Small Cap Index Fund B
   BlackRock MSCI Equity Index Non‐Lendable Fund ‐ Canada         iShares International Developed Property ETF                MSCI EAFE Index RSL Fund
   BlackRock MSCI Equity Index Non‐Lendable Fund B ‐ Canada       iShares International Developed Real Estate ETF             MSCI EAFE SY Index Fund
   BlackRock MSCI Europe Equity Index Fund B                      iShares International Fundamental Index Fund                MSCI EMU IMI Index Fund B
   BlackRock Multi‐Asset Income Portfolio of BlackRock Funds      iShares International High Yield Bond ETF                   MSCI Eq Index Fd B‐Argentina
    II                                                             iShares International Inflation‐Linked Bond ETF             MSCI Eq Index Fd B‐Austria
   BlackRock Multi‐Sector Income Trust ‐ Aggregate                iShares International Preferred Stock ETF                   MSCI Eq Index Fd B‐Belgium
   BlackRock Natural Resources Growth & Income Fund               iShares International Select Div ETF                        MSCI Eq Index Fd B‐Brazil
   BlackRock Natural Resources Trust                              iShares International Select Dividend ETF                   MSCI Eq Index Fd B‐Canada
   Blackrock North American Income Trust Plc                      iShares International Treasury Bond ETF                     MSCI Eq Index Fd B‐Chile
   BlackRock Overseas Fund ‐ Global Equity ex UK ‐ Pending        iShares Intl Developed Property ETF                         MSCI Eq Index Fd B‐China
    Closure                                                        iShares Intl Fndmntl Index Fd                               MSCI Eq Index Fd B‐Czech Rep
   BlackRock Pacific Fund Inc.                                    iShares Intl Inflation‐Linked Bd ETF                        MSCI Eq Index Fd B‐Denmark
   BlackRock Resources and Commodities Strategy Trust ‐           iShares Intl Preferred Stock ETF                            MSCI Eq Index Fd B‐Egypt
    Aggregate                                                      iShares Intl Treasury Bond ETF                              MSCI Eq Index Fd B‐Finland
   BlackRock Science & Technology Opportunities Portfolio of      iShares IPC CompMX TR                                       MSCI Eq Index Fd B‐France
    BlackRock Funds                                                iShares IPC Large Cap Total Return Trac                     MSCI Eq Index Fd B‐Germany
   BlackRock Scientific Hedged International Equity Fund          iShares IPC Large Cap TR                                    MSCI Eq Index Fd B‐Greece
   BlackRock Scientific International Equity Fund                 iShares J. P. Morgan $ EM Bond EUR Hedged UCITS ETF         MSCI Eq Index Fd B‐Hong Kong
   BlackRock Smaller Companies Trust plc ‐ Investment             iShares J.P. Morgan $ Emerging Markets Bond UCITS ETF       MSCI Eq Index Fd B‐Hungary
    Portfolio                                                      iShares Jantzi Social Index Fund                            MSCI Eq Index Fd B‐India
   BlackRock Strategic Global Bond Fund, Inc. ‐ Aggregate         iShares Japan Fundamental Index Fund (CAD‐Hedged)           MSCI Eq Index Fd B‐Indonesia
   BlackRock Strategic Income Opportunities Portfolio             iShares Japan Large‐Cap ETF                                 MSCI Eq Index Fd B‐Ireland
   BlackRock Tactical Growth Fund                                 iShares JP Fdmntal Indx CADHgd                              MSCI Eq Index Fd B‐Israel
   BlackRock Tactical Opportunities Fund                          iShares JPM EM Bond $C‐hedged                               MSCI Eq Index Fd B‐Italy
   BlackRock Throgmorton Trust plc                                iShares JPX‐Nikkei 400 ETF                                  MSCI Eq Index Fd B‐Malaysia
   BlackRock Total Factor Fund                                    iShares Latin America 40 ETF                                MSCI Eq Index Fd B‐Mexico
   BlackRock Total Return Portfolio (Ins ‐ Series)                iShares Listed Private Equity UCITS ETF USD (Dist) AGG      MSCI Eq Index Fd B‐Neth
   BlackRock Total Return V.I. Portfolio (Ins ‐ Var Ser)          iShares MSCI AC Asia ex Japan Index ETF                     MSCI Eq Index Fd B‐Norway
   BlackRock U.S. Government Bond Portfolio of BlackRock          iShares MSCI AC Asia ex Japan ETF                           MSCI Eq Index Fd B‐NZ
    Funds II                                                       iShares MSCI AC Asia ex Japan Index ETF                     MSCI EQ Index Fd B‐Pakistan
   BlackRock U.S. Opportunities Portfolio                         iShares MSCI AC Asia IT ETF                                 MSCI Eq Index Fd B‐Peru
   BlackRock UK Absolute Alpha Fund‐ Aggregate                    iShares MSCI AC Asia xJapan SC ETF                          MSCI Eq Index Fd B‐Philippines
   BlackRock UK Dynamic Fund ‐ Pending Closure                    iShares MSCI AC Far East ex‐Japan Small                     MSCI Eq Index Fd B‐Poland
   BlackRock UK Emerging Companies Hedge Fund                     iShares MSCI AC Far East ex‐Japan Small Cap UCITS ETF       MSCI Eq Index Fd B‐Portugal
   BlackRock UK Equity Fund ‐ Aggregate                           iShares MSCI AC Far East ex‐Japan UCITS                     MSCI Eq Index Fd B‐Russia

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   BlackRock UK Focus Fund                                        iShares MSCI AC Far East ex‐Japan UCITS ETF                  MSCI Eq Index Fd B‐S Korea
   BlackRock UK Fund                                              iShares MSCI AC World Min Vol ETF                            MSCI Eq Index Fd B‐Singapore
   BlackRock UK Income Fund                                       iShares MSCI ACWI ETF                                        MSCI Eq Index Fd B‐South Africa
   BlackRock UK Smaller Companies Fund                            iShares MSCI ACWI ex U.S. ETF                                MSCI Eq Index Fd B‐Spain
   BlackRock UK Special Situations Fund                           iShares MSCI ACWI Min Vol                                    MSCI Eq Index Fd B‐Sweden
   BlackRock UK Specialist Fund                                   iShares MSCI ACWI UCITS ETF                                  MSCI Eq Index Fd B‐Switz
   BlackRock US Dynamic Fund                                      iShares MSCI ACWI xUS Cons Disc ETF                          MSCI Eq Index Fd B‐Switzerland
   Blackrock US Equity Tracker Fund                               iShares MSCI ACWI xUS Cons St ETF                            MSCI Eq Index Fd B‐Taiwan
   BlackRock US Opportunities Fund                                iShares MSCI ACWI xUS Energy ETF                             MSCI Eq Index Fd B‐Thailand
   BlackRock Utility and Infrastructure Trust                     iShares MSCI ACWI xUS Fin ETF                                MSCI Eq Index Fd B‐Turkey
   BlackRock World Mining Trust plc                               iShares MSCI ACWI xUS Hlthcre ETF                            MSCI Eq Index Fd B‐UK
   BlackRock Yen LIBOR Fund                                       iShares MSCI ACWI xUS Ind ETF                                MSCI Eq Index Fd‐Australia
   BLK ACWI exUS Index Mutual Fd                                  iShares MSCI ACWI xUS IT ETF                                 MSCI Eq Index Fd‐Austria
   BLK CDN MSCI EAFE Eq Index Fund                                iShares MSCI ACWI xUS Materials ETF                          MSCI Eq Index Fd‐Belgium
   BLK CDN MSCI EAFE Index Cl D                                   iShares MSCI ACWI xUS Tele Svs ETF                           MSCI Eq Index Fd‐Canada
   BLK CDN MSCI EAFE Index Hgd Fund                               iShares MSCI ACWI xUS Util ETF                               MSCI Eq Index Fd‐Denmark
   BLK CDN R3000 Index Hedged                                     iShares MSCI All Country Asia ex Japan ETF                   MSCI Eq Index Fd‐Finland
   BLK CDN US Equity Index NonTax Cl A                            iShares MSCI All Country World Minimum Volatility ETF        MSCI Eq Index Fd‐France
   BLK MSCI CAD Small Cap EQ NL                                   iShares MSCI All Country World Minimum Volatility Index      MSCI Eq Index Fd‐Germany
   BLK MSCI World ex US MIN Vol Inx Fd                             Fund                                                         MSCI Eq Index Fd‐Greece
   BLK Scientific Hdg Int Eq Fund                                 iShares MSCI All Peru Capped ETF                             MSCI Eq Index Fd‐Hong Kong
   BPF Hong Kong Equity Index Fund                                iShares MSCI Asia APEX Mid Cap Index ETF                     MSCI Eq Index Fd‐Ireland
   BR MSCI ACWI Min Vol Index                                     iShares MSCI Asia APEX Small Cap Index ETF                   MSCI Eq Index Fd‐Italy
   BSF ‐ BlackRock Asia Extension Fund ‐ Aggregate                iShares MSCI Australia ETF                                   MSCI Eq Index Fd‐Japan
   BSF ‐ BlackRock European Absolute Return Fund ‐ Aggregate      iShares MSCI Australia SC ETF                                MSCI Eq Index Fd‐Malaysia
   BSF ‐ BlackRock European Opportunities Extension Fund          iShares MSCI Australia UCITS ETF                             MSCI Eq Index Fd‐Mexico
   BSF ‐ BlackRock Fixed Income Strategies Fund ‐ Aggregate       iShares MSCI Austria Capped ETF                              MSCI Eq Index Fd‐Netherlands
   BSF ‐ BlackRock Global Absolute Return Bond Fund ‐             iShares MSCI Belgium Capped ETF                              MSCI Eq Index Fd‐New Zealand
    Aggregate                                                      iShares MSCI Brazil Capped ETF                               MSCI Eq Index Fd‐Norway
   BSF BlackRock Americas Diversified Equity Absolute Return      iShares MSCI Brazil Index Fund                               MSCI Eq Index Fd‐Portugal
    Fund ‐ Aggregate                                               iShares MSCI Brazil Small‐Cap ETF                            MSCI Eq Index Fd‐Singapore
   BSF BlackRock Dynamic Diversified Growth Fund Aggregate        iShares MSCI Brazil UCITS ETF (Dist)                         MSCI Eq Index Fd‐Spain
   BSF BlackRock Emerging Markets Absolute Return Fund            iShares MSCI BRIC ETF                                        MSCI Eq Index Fd‐Sweden
    Aggregate                                                      iShares MSCI Canada ETF                                      MSCI Eq Index Fd‐Switzerland
   BSF BlackRock Emerging Markets Allocation Fund ‐               iShares MSCI Canada Min Vol                                  MSCI Eq Index Fd‐Turkey
    Aggregate                                                      iShares MSCI Canada Minimum Volatility Index Fund            MSCI Eq Index Fd‐UK
   BSF BlackRock European Credit Strategies Fund ‐ Aggregate      iShares MSCI Canada SC ETF                                   MSCI Eq Index NL Fd ‐ Canada
   BSF BlackRock European Diversified Equity Absolute Return      iShares MSCI Canada UCITS ETF                                MSCI Eq Indx Fd B‐Colombia
    Fund Aggregate                                                 iShares MSCI China ETF                                       MSCI Equity Index Fund B ‐ Morocco
   BSF Emerging Markets Flexi Dynamic Bond Fund                   iShares MSCI China Small‐Cap ETF                             MSCI Equity Index Fund B‐Australia
   BSF European Constrained Credit Strategies Fund ‐              iShares MSCI Colombia Cap                                    MSCI Equity Index Fund B‐Japan
    Aggregate                                                      iShares MSCI Colombia Capped ETF                             MSCI Europe Eq Index Fd B
   Cadbury Hedge Fund Alternatives Portfolio ‐ Aggregate          iShares MSCI Denmark Capped ETF                              Multi Cur Alpha Tilts SS B
   Canada Alpha Tilts Fund                                        iShares MSCI EAFE ETF                                        NAFTRAC
   Canada Alpha Tilts Fund B                                      iShares MSCI EAFE Growth ETF                                 Nikkei (T+1)
   Canada ex‐Controversial Weapons Equity Index Fund B            iShares MSCI EAFE IMI ETF                                    Pacific Rim ex‐Japan ex‐Controversial Weapons Equity Index
   Canada Market Neutral Fund B ‐ Aggregate                       iShares MSCI EAFE Index CADHED                                Fund B

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   CDN xControversial Weapons B                             iShares MSCI EAFE Min Vol                                   Pac‐Rim xJPN xCW B
   CoreAlpha Bond Fund E                                    iShares MSCI EAFE Min Vol ETF                               Pan Asia Opportunities Fund B ‐ Jacket
   CoreAlpha Bond Master Port                               iShares MSCI EAFE Minimum Volatility ETF                    PAO Master ‐ UBS Short
   CoreAlpha Bond Master Portfolio                          iShares MSCI EAFE Minimum Volatility Index Fund             Q‐BLK ARS III ‐ Institutional, Ltd.
   CorePlus Bond Fd B                                       iShares MSCI EAFE Small‐Cap ETF                             R3 Capital
   CorePlus Bond Fund B                                     iShares MSCI EAFE Value ETF                                 Risk Arbitrage Fund B
   Currency Selection Developed Markets AGG                 iShares MSCI Eastern Europe Capped UCITS                    Russell Dev xUS LargeCap NL
   Currency Selection Emerging Markets AGG                  iShares MSCI Eastern Europe Capped UCITS ETF                Russell Dev xUS LargeCap NL B
   Dev ex‐US Real Estate NL Fund                            iShares MSCI EM Asia ETF                                    Russell Developed ex‐U.S. Large Cap Index Non‐Lendable
   Developed ex‐US RE Index Fd B                            iShares MSCI EM Asia UCITS ETF                               Fund
   Developed ex‐US RE Index Fund                            iShares MSCI EM Cons Disc ETF                               Russell Developed ex‐U.S. Large Cap Index Non‐Lendable
   Developed ex‐US Real Estate Index Fund                   iShares MSCI EM Eastern Europe ETF                           Fund B
   Developed Real Estate Index Non‐Lendable Fund            iShares MSCI EM EMEA ETF                                    Strategic Income Opportunities Bond Fund
   Developed Real Estate NL                                 iShares MSCI EM Energy Capped ETF                           Swiss Performance Index NL B
   EAFE A Multi‐Cntry Portfolio                             iShares MSCI EM Financials ETF                              The 32 Capital Yen Fund LTD
   EAFE Curr Hedged Eq Indx Fd                              iShares MSCI EM Growth ETF                                  The Obsidian Fund ‐ Aggregate
   EAFE Eq. Value Index                                     iShares MSCI EM IMI Index ETF                               Total Int ex U.S. Index Mstr Port
   EAFE Equity Growth Index Fund                            iShares MSCI EM Index ETF                                   Total International ex U.S. Index Master Portfolio
   EAFE Equity Index Fund E                                 iShares MSCI EM Lat Am ETF                                  U.S. Long Corporate Bond Fund
   EAFE Equity Index Fund F                                 iShares MSCI EM Latin America UCITS ETF                     UK Alpha Tilts Fund L
   EAFE Equity Index Fund P                                 iShares MSCI EM Latin America UCITS ETF (Dist)              UK Alpha Tilts Fund O
   EAFE Equity Index NL Fund                                iShares MSCI EM Materials ETF                               UK Long‐Short Fund
   EAFE Equity Index NL Fund B                              iShares MSCI EM Min Vol ETF                                 US Basic Value Open Mother Fund (9810)
   EAFE Equity Index NL Fund F                              iShares MSCI EM Small‐Cap ETF                               US Core Bond Mother Fund (9834)
   EAFE SF Equity Index Fund                                iShares MSCI EM Value ETF                                   US Small Cap Growth Stock Mother Fund (9802)
   EAFE Small Cap Eq Index Fd B                             iShares MSCI Emer Mkts Min Vo                               Wells Fargo Int''l Index S/A
   EAFE Small Cap Eq Index Fund                             iShares MSCI Emerging Markets Asia ETF                      Wells Fargo Outlook 2040
   EAFE Small Cap Eq Index NL Fund                          iShares MSCI Emerging Markets ETF                           World Alpha Tilts Fund B
   EAFE Sudan Free Equity Index Fund                        iShares MSCI Emerging Markets Index                         World Alpha Tilts NL B
   EBIG Bond Fund B Non‐Erisa                               iShares MSCI Emerging Markets Index ETF                     World Alpha Tilts Non‐Lendable Fund B
   EM Eq Index Master Fund                                  iShares MSCI Emerging Markets Islamic UC                    World Bond Mother Fund (JPY Hedged) (9816)
   EM Local Bond Index Fund B                               iShares MSCI Emerging Markets Islamic UCITS ETF             World Bond Mother Fund (Unhedged) (9815)
   EM Small Cap Equity Index Fd                             iShares MSCI Emerging Markets Latin America ETF             World ex‐U.S. Index Fund A2
   EM Small Cap NL Fund                                     iShares MSCI Emerging Markets Minimum Vo                    World ex‐US Alpha Tilts
   EM Small Cap NL Fund B                                   iShares MSCI Emerging Markets Minimum Volatility ETF        World ex‐US Alpha Tilts B
   EM xControversial Weapons B                              iShares MSCI Emerging Markets Minimum Volatility Index      World ex‐US Alpha Tilts Fund L
   Emerging Markets Alpha Fund B ‐ Jacket                    Fund                                                        World ex‐US Alpha Tilts L
   Emerging Markets Alpha Master Fund Ltd.                                                                               World ex‐US Small Cap Plus Fund ‐ Jacket
                                                                                                                          World xUS Tilts Fund O
11. Blaise Nkufo a/o Adrienne Nkufo
   Blaise Nkufo                                             Adrienne Nkufo
12. BlueCrest Capital Management
   BlueCrest Capital Management                             BlueCrest Multi Strategy Credit Master Fund Limited         BlueCrest Capital Management (UK) LLP
   BlueCrest Capital International Master Fund Limited      BlueCrest Volatility Arbitrage Master Fund Limited          BlueCrest Capital Management Guernsey LP
   BlueCrest Capital International Limited                  Alignment Global Fund                                       BlueCrest Capital Management (Singapore) Pte. Ltd
   BlueCrest Capital LP                                     BSMA Limited                                                BlueCrest Capital Management Brasil Limitada

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     BlueCrest Strategic Limited                                     BlueCrest Equity Strategies Master Fund Limited        BlueCrest Capital Management (Canada) Limited
     BlueCrest Emerging Markets Fund Limited                         BlueCrest Capital Management Limited                   BlueCrest Capital Management (Hong Kong) Limited
     BlueCrest Emerging Markets Master Fund Limited                  BlueCrest Capital Management (New York) LP             BlueCrest Capital Management Jersey Limited
     BlueCrest Mercantile Master Fund Limited                        BlueCrest Capital Management (Boston) LP               BlueCrest Capital Management LP
     BlueCrest Special Situations Master Fund Limited
13.   Brevan Howard
     Brevan Howard                                                  Brevan Howard Asia Master Fund Limited                  Brevan Howard Emerging Markets Strategies Master Fund
     Brevan Howard Multi‐Strategy Master Fund Limited               Brevan Howard Strategic Opportunities Fund Limited       Limited
     Brevan Howard Master Fund Limited                              Brevan Howard Strategic Macro Master Fund Limited       WCG Strategies Fund Limited
                                                                                                                              Brevan Howard Equities Strategies Master Fund Limited
14. CalSTRS
     California State Teachers' Retirement System
15. Centricus Asset Management Limited (f/k/a Halkin Asset Management Limited)
     Centricus Asset Management Limited                             Halkin Asset Management Limited                         Eurofin Capital SICAV SIF SCA Eurof Ldn
16. Charlotte Katharina Marianne Rahn
     Charlotte Katharina Marianne Rahn
17. China Foreign Exchange Trade System (National Interbank Funding Center)
     China Foreign Exchange Trade System (National Interbank Funding Center)
18. Commonwealth Bank of Australia
     Commonwealth Bank of Australia
19. Eduardo Negrete Franco
     Eduardo Negrete Franco
20. Effissimo Capital Management Pte. Ltd. as management company of ECM Master Fund
     Effissimo Capital Management Pte. Ltd.                         ECM Master Fund
21. Fexco Merchant Services Unlimited Company
     Fexco Merchant Services Unlimited Company
22. Fexco Unlimited Company
     Fexco Unlimited Company
23. Gervasio Negrete Franco
     Gervasio Negrete Franco
24. Hamburger Sparkasse AG
     Hamburger Sparkasse AG
25. Herald Fund SPC (In Official Liquidation)
     Herald Fund SPC
26. Lion Television
     Lion Television Inc.                                           Lion Television LLC                                     Lion Television Limited
27. Mario Alberto Angelastro & Ernestina Maria Angela Di Leo

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   Mario Alberto Angelastro                                       Ernestina Maria Angela Di Leo
28. Massachusetts Pension Reserve Investment Management Board ("PRIM")
   Massachusetts Pension Reserve Investment Management
                                                                   Pension Reserves Investment Trust Fund                                 Health Care Security Trust
    Board (“PRIM”)
29. Mitsubishi Corporation
   Mitsubishi Corporation
30. Norges Bank
   Norges Bank
31. Pacific Investment Management Company LLC ("PIMCO")
   Pacific Investment Management Company LLC                      PIMCO Absolute Return Strategy IV Master Fund LDC with                 PIMCO Funds: PIMCO CommoditiesPLUS® Strategy Fund
   PIMCO Australia Management Limited as responsible entity        respect to its Class relating to the Sterling Institutional Class      PIMCO Commodity Alpha Master Fund Ltd.
    for PIMCO Australian Short‐Term Bond Fund                       of the PIMCO Absolute Return Strategies IV Offshore Fund I
                                                                                                                                           PIMCO Funds: PIMCO CommodityRealReturn Strategy
   PIMCO BRAVO Fund L.P.                                           Ltd.
                                                                                                                                            Fund®
   Catamount Partners LP                                          PIMCO Absolute Return Strategy IV Master Fund LDC with
                                                                                                                                           PIMCO Corporate & Income Opportunity Fund
   PIMCO CommoditiesPLUS Collective Trust                          respect to its Class relating to the Yen Institutional Class of
                                                                                                                                           PIMCO Corporate & Income Strategy Fund
   PIMCO Core Plus Bond Fund                                       the PIMCO Absolute Return Strategies IV Offshore Fund I
                                                                                                                                           PIMCO Fixed Income Source ETFs plc PIMCO Covered Bond
   PIMCO Global Advantage Strategy Collective Trust                Ltd.
                                                                                                                                            Source UCITS ETF
   PIMCO Real Return Collective Trust II                          PIMCO Absolute Return Strategy V Master Fund LDC with
                                                                                                                                           PIMCO Funds: PIMCO Credit Absolute Return Fund
   PIMCO Real Return Strategy Fund                                 respect to its Class relating to the Euro Institutional Class of
                                                                                                                                           PIMCO Funds: PIMCO Diversified Income Fund
   PIMCO RealEstatePLUS Collective Trust                           the PIMCO Absolute Return Strategies V Offshore Fund Ltd.
                                                                                                                                           PIMCO Dynamic Credit and Mortgage Income Fund
   PIMCO Total Return Collective Trust                            PIMCO ETF Trust: PIMCO Active Bond Exchange‐Traded
                                                                                                                                           PIMCO Dynamic Income Fund
   PIMCO Unconstrained Bond Collective Trust                       Fund
                                                                                                                                           PIMCO Bermuda Trust II: PIMCO Emerging Bond Income
   PIMCO Combined Alpha Strategies Master Fund LDC                PIMCO Cayman Trust: PIMCO Asia High Income Bond Fund
                                                                                                                                            Fund III
   Combined Alpha Strategies Fund ‐ Euro Credit Sleeve            PIMCO Cayman Trust: PIMCO Asia High Income Bond Fund
                                                                                                                                           PIMCO Funds: PIMCO Emerging Local Bond Fund
   Combined Alpha Strategies Fund ‐ Invest Grade Sleeve           PIMCO Australia Management Limited as responsible entity
                                                                                                                                           PIMCO Bermuda Trust: PIMCO Emerging Markets Bond
   Combined Alpha Strategies Fund ‐ LBAG Sleeve                    for PIMCO Australian Bond Fund
                                                                                                                                            Fund (M)
                                                                  PIMCO Australia Management Limited as responsible entity
    PIMCO Distressed Credit Fund B L.P.                                                                                                    PIMCO Funds: PIMCO Emerging Markets Bond Fund
                                                                    for PIMCO Diversified Fixed Interest Fund
   PIMCO Distressed Credit Fund L.P.                                                                                                      PIMCO Bermuda Trust: PIMCO Emerging Markets Bond
                                                                   PIMCO Australia Management Limited as responsible entity
   PIMCO Distressed Credit Fund Offshore Investments L.P.                                                                                  Fund (Yen‐Hedged)
                                                                    for PIMCO Emerging Markets Bond Fund
   PIMCO Distressed Senior Credit Opportunities Fund II L.P.                                                                              PIMCO Bermuda Trust: PIMCO Emerging Markets Bond
                                                                   PIMCO Australia Management Limited as responsible entity
   PIMCO Equity Series: PIMCO Dividend and Income Builder                                                                                  Fund III
                                                                    for PIMCO Global Bond Fund
    Fund                                                                                                                                   PIMCO Funds: PIMCO Emerging Markets Corporate Bond
                                                                   PIMCO Australia Management Limited as responsible entity
   PIMCO Select Funds plc Dynamic Global Investment Grade                                                                                  Fund
                                                                    for PIMCO Global Credit Fund
    Credit Fund                                                                                                                            PIMCO Funds: PIMCO Emerging Markets Currency Fund
                                                                   PIMCO Australia Management Limited as responsible entity
   PIMCO Fixed Income Source ETFs plc PIMCO Emerging                                                                                      PIMCO Equity Series: PIMCO EqS Long/Short Fund
                                                                    for PIMCO Global Real Return Fund
    Markets Advantage Local Bond Index Source UCITS ETF
                                                                   PIMCO Australia Management Limited as responsible entity               PIMCO Funds: PIMCO Extended Duration Fund
   PIMCO Fixed Income Source ETFs plc PIMCO Euro Short                                                                                    PIMCO Funds: PIMCO Foreign Bond Fund (U.S. Dollar‐
                                                                    for PIMCO Target Return Fund
    Maturity Source UCITS ETF                                                                                                               Hedged)
                                                                   PIMCO Bermuda Trust II: PIMCO Bermuda Bank Loan Fund
   PIMCO Fixed Income Source ETFs plc PIMCO Sterling Short                                                                                PIMCO Funds: PIMCO Foreign Bond Fund (Unhedged)
                                                                    A
    Maturity Source UCITS ETF                                                                                                              PIMCO Funds: Global Investors Series plc StocksPLUS Fund
                                                                   PIMCO Bermuda Trust II: PIMCO Bermuda Bank Loan Fund
   PIMCO BRAVO Fund II L.P.                                                                                                                (GBP Hedged Share class)
                                                                    (M)
   Fixed Income SHares: Series C                                                                                                          PIMCO Global Advantage Strategy Bond Fund (Canada)
                                                                   PIMCO Bermuda Trust II: PIMCO Bermuda Bank Loan Fund B
   Fixed Income SHares: Series M                                                                                                          PIMCO Funds: PIMCO Global Advantage® Strategy Bond
                                                                   PIMCO Bermuda Trust IV: PIMCO Bermuda Brazil Corporate
   Fixed Income SHares (Series R)                                                                                                          Fund
                                                                    Bond Fund
   PIMCO Global Credit Opportunity Master Fund LDC                                                                                        PIMCO Funds: PIMCO Global Bond Fund (U.S. Dollar‐
                                                                   PIMCO Bermuda Trust IV: PIMCO Bermuda Brazil
                                                                                                14
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   PIMCO Funds: Global Investors Series plc PIMCO Capital            Government Bond Fund                                         Hedged)
    Securities Fund                                                  PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging              PIMCO Funds: PIMCO Global Bond Fund (Unhedged)
   PIMCO Funds: Global Investors Series plc Commodity Real           Markets and Infrastructure Bond Fund A                      PIMCO Funds: PIMCO Global Multi‐Asset Fund
    Return Fund                                                      PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging              PIMCO Variable Insurance Trust: PIMCO Global Multi‐Asset
   PIMCO Funds: Global Investors Series plc PIMCO Credit             Markets and Infrastructure Bond Fund B                       Managed Allocation Portfolio
    Absolute Return Fund                                             PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging              PIMCO Global StocksPLUS & Income Fund
   PIMCO Funds: Global Investors Series plc PIMCO Credit             Markets and Infrastructure Bond Fund (M)                    PIMCO High Income Fund
    Absolute Return Fund                                             PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging              PIMCO Funds: PIMCO High Yield Fund
   PIMCO Funds: Global Investors Series plc Diversified Income       Market High Yield Corporate Bond Fund B                     PIMCO Funds: PIMCO High Yield Spectrum Fund
    Duration Hedged Fund                                             PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging              PIMCO Funds: PIMCO Income Fund
   PIMCO Funds: Global Investors Series plc Diversified Income       Market High Yield Corporate Bond Fund (M)                   PIMCO Income Opportunity Fund
    Fund                                                             PIMCO Bermuda Trust: PIMCO Emerging Markets Bond            PIMCO Income Strategy Fund
   PIMCO Funds: Global Investors Series plc Emerging Asia            Fund II                                                     PIMCO Income Strategy Fund II
    Bond Fund                                                        PIMCO Bermuda Trust: PIMCO Emerging Markets Bond            PIMCO Funds: PIMCO Inflation Response Multi‐Asset Fund
   PIMCO Funds: Global Investors Series plc Emerging Local           Fund (JITF)                                                 PIMCO Funds: PIMCO Investment Grade Corporate Bond
    Bond Fund                                                        PIMCO Bermuda Trust II: PIMCO Bermuda Emerging               Fund
   PIMCO Funds: Global Investors Series plc Emerging Markets         Markets Bond Fund (M)                                       PIMCO Large Cap StocksPLUS Absolute Return Fund
    Bond Fund                                                        PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging              PIMCO Loan Interests and Credit Master Fund Ltd.
   PIMCO Funds: Global Investors Series plc Emerging Markets         Market High Yield Corporate Bond Fund A                     PIMCO Funds: PIMCO Long Duration Total Return Fund
    Corporate Bond Fund                                              PIMCO Bermuda Trust: PIMCO Euro Total Return Fund           PIMCO Funds: PIMCO Long‐Term Credit Fund
   PIMCO Funds: Global Investors Series plc Emerging Markets        PIMCO Bermuda Trust: PIMCO Bermuda Foreign Low              PIMCO Funds: PIMCO Low Duration ESG Fund
    Short‐Term Local Currency Fund                                    Duration Fund                                               PIMCO Funds: PIMCO Low Duration Fund
   PIMCO Funds: Global Investors Series plc PIMCO Emerging          PIMCO Bermuda Trust II: PIMCO Bermuda Global Aggregate      PIMCO Funds: PIMCO Low Duration Income Fund
    Multi‐Asset Fund                                                  Ex‐Japan (Yen‐Hedged) Bond Fund                             PIMCO Funds: PIMCO Moderate Duration Fund
   PIMCO Funds: Global Investors Series plc Euro Bond Fund          PIMCO Bermuda Trust II: PIMCO Bermuda U.S. High Yield       PIMCO Monthly Income Fund (Canada)
   PIMCO Funds: Global Investors Series plc Euro Bond Fund           Fund II (M)
                                                                                                                                  PIMCO Funds: PIMCO Mortgage Opportunities Fund
   PIMCO Funds: Global Investors Series plc Euro Credit Fund        PIMCO Bermuda Trust II: PIMCO Emerging Bond Income
                                                                                                                                  PIMCO Multi‐Asset Volatility Master Fund Ltd.
   PIMCO Funds: Global Investors Series plc Euro Income Bond         Fund
                                                                                                                                  PIMCO Multi‐Asset Volatility Offshore Fund II Ltd.
    Fund                                                             PIMCO Bermuda Trust II: PIMCO Emerging Bond (Yen‐
                                                                                                                                  PIMCO Funds: PIMCO RAE Fundamental Advantage PLUS
   PIMCO Funds: Global Investors Series plc Euro Long Average        Hedged) Income Fund
                                                                                                                                   Fund
    Duration Fund                                                    PIMCO Bermuda Trust II: PIMCO Emerging Bond Income
                                                                                                                                  PIMCO Funds: PIMCO RAE Fundamental PLUS EMG Fund
   PIMCO Funds: Global Investors Series plc Euro Low                 Fund (M)
                                                                                                                                  PIMCO Funds: PIMCO RAE Fundamental PLUS Fund
    Duration Fund                                                    PIMCO Bermuda Trust II: PIMCO U.S. High Yield (Yen‐
                                                                                                                                  PIMCO Funds: PIMCO RAE Fundamental PLUS International
   PIMCO Funds: Global Investors Series plc Euro Short‐Term          Hedged) Fund II
                                                                                                                                   Fund
    Fund                                                             PIMCO Bermuda Trust II: PIMCO World High Income
                                                                                                                                  PIMCO Funds: PIMCO RAE Fundamental PLUS Small Fund
   PIMCO Funds: Global Investors Series plc Global Advantage        PIMCO Bermuda Trust II: PIMCO Emerging Bond Income
                                                                                                                                  PIMCO Funds: PIMCO RAE Worldwide Fundamental
    Fund                                                              Fund II
                                                                                                                                   Advantage PLUS Fund
   PIMCO Funds: Global Investors Series plc Global Advantage        PIMCO Bermuda Trust II: PIMCO Bermuda Emerging
                                                                                                                                  PIMCO Funds: PIMCO Real Return Asset Fund
    Fund                                                              Markets Bond Fund II
                                                                                                                                  PIMCO Funds: PIMCO Real Return Fund
   PIMCO Funds: Global Investors Series plc Global Advantage        PIMCO Bermuda Trust II: PIMCO Bermuda JGB Floater
                                                                                                                                  PIMCO Funds: PIMCO RealEstateRealReturn Strategy Fund
    Real Return Fund                                                  Foreign Strategy Fund
                                                                                                                                  PIMCO Funds: PIMCO RealPath® 2020 Fund
   PIMCO Funds: Global Investors Series plc Global Advantage        PIMCO Bermuda Trust II: PIMCO Bermuda JGB Floater US
                                                                      Strategy Fund                                               PIMCO Funds: PIMCO RealPath® 2025 Fund
    Real Return Fund
                                                                                                                                 PIMCO Funds: PIMCO RealPath® 2030 Fund
   PIMCO Funds: Global Investors Series plc Global Bond Ex‐US        PIMCO Bermuda Trust II: PIMCO Bermuda U.S. High Yield
    Fund                                                              Fund                                                        PIMCO Funds: PIMCO RealPath® 2035 Fund
   PIMCO Funds: Global Investors Series plc Global Bond Fund        PIMCO Bermuda Trust II: PIMCO U.S. High Yield (Yen‐         PIMCO Funds: PIMCO RealPath® 2040 Fund
   PIMCO Funds: Global Investors Series plc Global Investment        Hedged) Fund                                                PIMCO Funds: PIMCO RealPath® 2045 Fund
    Grade Credit Fund                                                PIMCO Bermuda Trust II: PIMCO U.S. High Yield Strategy      PIMCO Funds: PIMCO RealPath® 2050 Fund

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   PIMCO Funds: Global Investors Series plc Global High Yield        Fund                                                          PIMCO Funds: PIMCO RealPath® Income Fund
    Bond Fund                                                        PIMCO Bermuda Trust II: PIMCO U.S. High Yield Strategy        PIMCO Funds: PIMCO RealRetirement® 2015 Fund
   PIMCO Funds: Global Investors Series plc Global Investment        Fund II                                                       PIMCO Select Funds plc UK Income Bond Fund
    Grade Credit Fund                                                PIMCO Bermuda Trust IV: PIMCO Bermuda Brazil Corporate        PIMCO Select Funds plc Unconstrained Bond Fund
   PIMCO Funds: Global Investors Series plc Global Multi‐Asset       Bond Fund (M)                                                 PIMCO Select Funds plc U.S. High Yield BB‐B Bond Fund
    Fund                                                             PIMCO Bermuda Trust IV: PIMCO Bermuda Brazil                  PIMCO Funds: PIMCO Senior Floating Rate Fund
   PIMCO Funds: Global Investors Series plc Global Real Return       Government Bond Fund (M)                                      PIMCO Funds: PIMCO Short‐Term Fund
    Fund                                                             PIMCO Bermuda Trust IV: PIMCO Emerging Bond Strategy          PIMCO Fixed Income Source ETFs plc PIMCO Short‐Term
   PIMCO Funds: Global Investors Series plc Income Fund              Fund                                                           High Yield Corporate Bond Index Source UCITS ETF
   PIMCO Funds: Global Investors Series plc Income Fund             PIMCO Bermuda Trust IV: PIMCO Bermuda Emerging                PIMCO Equity Series VIT: PIMCO StocksPLUS Global
   PIMCO Funds: Global Investors Series plc Inflation Strategy       Currency High Income Fund                                      Portfolio
    Fund                                                             PIMCO Bermuda Trust IV: PIMCO Bermuda Global Bond Ex‐         StocksPLUS Sub‐Fund B LLC
   PIMCO Funds: Global Investors Series plc Low Average              Japan Fund                                                    PIMCO Funds: PIMCO StocksPLUS® Absolute Return Fund
    Duration Fund                                                    PIMCO Bermuda Trust IV: PIMCO Global Bond Strategy Fund       PIMCO Funds: PIMCO StocksPLUS® Fund
   PIMCO Funds: Global Investors Series plc PIMCO RAE               PIMCO Bermuda Trust IV: PIMCO Global High Yield Strategy      PIMCO Funds: PIMCO StocksPLUS® International Fund
    Fundamental PLUS Emerging Markets Fund                            Fund                                                           (Unhedged)
   PIMCO Funds: Global Investors Series plc PIMCO RAE               PIMCO Bermuda Trust IV: PIMCO U.S. High Yield Strategy        PIMCO Funds: PIMCO StocksPLUS® International Fund (U.S.
    Fundamental PLUS Global Developed Fund                            Fund B                                                         Dollar‐Hedged)
   PIMCO Funds: Global Investors Series plc PIMCO RAE               PIMCO Bermuda Trust IV: PIMCO U.S. High Yield Strategy        PIMCO Funds: PIMCO StocksPLUS® Long Duration Fund
    Fundamental PLUS US Fund                                          Fund A                                                        PIMCO Funds: PIMCO StocksPLUS® Short Fund
   PIMCO Funds: Global Investors Series plc Socially                PIMCO Bermuda Trust: PIMCO Real Return Fund                   PIMCO Funds: PIMCO StocksPLUS® Small Fund
    Responsible Emerging Markets Bond Fund                           PIMCO Bermuda Trust II: PIMCO Bermuda U.S. High Yield         PIMCO Strategic Income Fund Inc.
   PIMCO Funds: Global Investors Series plc StocksPLUS™ Fund         Fund (M)                                                      PIMCO Tactical Opportunities Master Fund Ltd.
   PIMCO Funds: Global Investors Series plc Strategic Income        PIMCO Bermuda Trust: PIMCO Bermuda U.S. Low Duration          PIMCO Tail Risk Hedging March Master Fund Ltd.
    Fund                                                              Fund                                                          PIMCO Tail Risk Hedging September Master Fund Ltd.
   PIMCO Funds: Global Investors Series plc Total Return Bond       PIMCO Canada Canadian CorePLUS Bond Trust                     PIMCO Funds: PIMCO Total Return ESG Fund
    Fund                                                             PIMCO Canada Canadian CorePLUS Long Bond Trust                PIMCO Funds: PIMCO Total Return Fund
   PIMCO Funds: Global Investors Series plc UK Corporate            PIMCO Canada Canadian Tactical Bond Trust                     PIMCO Luxembourg Trust IV PIMCO Total Return Fund II
    Bond Fund                                                        PIMCO Canadian Short Term Bond Fund                           PIMCO Funds: PIMCO Total Return Fund IV
   PIMCO Funds: Global Investors Series plc UK Long Term            PIMCO Canadian Total Return Bond Fund                         PIMCO Luxembourg Trust IV PIMCO Total Return Fund
    Corporate Bond Fund                                              PIMCO Cayman Trust: PIMCO Cayman Australian Corporate          Multi‐Currency Selection
   PIMCO Funds: Global Investors Series plc Unconstrained            Fund                                                          PIMCO Offshore Funds: PIMCO U.S. IG Intermediate
    Bond Fund                                                        PIMCO Cayman Trust: PIMCO Cayman Australian Multi‐             Corporate Bond Fund
   PIMCO Funds: Global Investors Series plc US High Yield            Sector Fund                                                   PIMCO Funds: PIMCO Unconstrained Bond Fund
    Bond Fund                                                        PIMCO Cayman Trust: PIMCO Cayman Bank Loan Fund               PIMCO Funds: PIMCO Unconstrained Tax Managed Bond
   PIMCO Combined Alpha Strategies Master Fund LDC with             PIMCO Cayman Trust: PIMCO Cayman Bank Loan Fund                Fund
    respect to its Class relating to US Government/Credit            PIMCO Cayman Commodity Fund I Ltd.                            PIMCO Bermuda Trust II: PIMCO U.S. High Yield Strategy
    Overlay Share Class of PIMCO Combined Alpha Strategies           PIMCO Cayman Commodity Fund III Ltd.                           Fund II
    Offshore Fund Ltd.                                               PIMCO Cayman Commodity Fund VII Ltd.                          PIMCO Luxembourg Trust CommoditiesPLUS Strategy Fund
   LVS I LLC                                                        PIMCO Cayman Commodity Portfolio I Ltd.                       PIMCO Luxembourg Trust Global Investment Grade Credit
   LVS II LLC                                                       PIMCO Cayman Trust: PIMCO Cayman Emerging Bond Fund            Fund
   LVS II Offshore L.P.                                              B                                                             PIMCO Luxembourg Trust Global Real Return Fund in Swiss
   LVS Offshore I L.P.                                              PIMCO Cayman Trust: PIMCO Cayman Emerging Bond Fund            Francs
   PIMCO Multi‐Sector Strategy Fund Ltd.                             A                                                             PIMCO Luxembourg Trust IV PIMCO Total Return Fund
   PIMCO Offshore Funds: PIMCO Offshore Funds Overlay               PIMCO Cayman Trust: PIMCO Cayman Emerging Bond Fund           PIMCO Luxembourg Trust IV PIMCO Total Return Strategy
    Strategies Fund X                                                 B                                                              Fund
   PIMCO Offshore Funds: PIMCO Offshore Funds Overlay               PIMCO Cayman Trust: PIMCO Cayman Emerging Bond Fund           PIMCO Luxembourg IV PIMCO Total Return Fund Multi‐
    Strategies Fund XI                                                (M)                                                            Currency Selection
                                                                                              16
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   PIMCO Funds: Private Account Portfolio Series Emerging             PIMCO Cayman Trust: PIMCO Cayman Emerging Local Bond        PIMCO Offshore Funds: PIMCO Cayman UK Long Duration
    Markets Portfolio                                                   Fund                                                         Fund
   PIMCO Funds: Private Account Portfolio Series High Yield           PIMCO Cayman Trust: PIMCO Cayman Emerging Local Bond        PIMCO Offshore Funds: PIMCO Offshore Funds Overlay
    Portfolio                                                           Strategy Fund                                                Strategies Fund VII
   PIMCO Funds: Private Account Portfolio Series International        PIMCO Cayman Trust: PIMCO Cayman European High Yield        PIMCO Offshore Funds: PIMCO U.S. Investment Grade
    Portfolio                                                           Fund                                                         Corporate Bond Fund
   PIMCO Funds: Private Account Portfolio Series Investment           PIMCO Cayman Trust: PIMCO Cayman Foreign Bond Fund          PIMCO Variable Insurance Trust: PIMCO Balanced Allocation
    Grade Corporate Portfolio                                          PIMCO Cayman Trust: PIMCO Cayman Global Advantage            Portfolio
   PIMCO Funds: Private Account Portfolio Series Long                  Government Ex‐Japan Bond Fund                               PIMCO Variable Insurance Trust: PIMCO
    Duration Corporate Bond Portfolio                                  PIMCO Cayman Trust: PIMCO Cayman Global Advantage            CommodityRealReturn Strategy Portfolio
   PIMCO Funds: Private Account Portfolio Series Low Duration          Bond Fund                                                   PIMCO Variable Insurance Trust: PIMCO Emerging Markets
    Portfolio                                                          PIMCO Cayman Trust: PIMCO Cayman Global Aggregate Ex‐        Bond Portfolio
   PIMCO Funds: Private Account Portfolio Series Real Return           Japan Bond Fund                                             PIMCO Variable Insurance Trust: PIMCO Foreign Bond
    Portfolio                                                          PIMCO Cayman Trust: PIMCO Cayman Global Aggregate Ex‐        Portfolio (Unhedged)
   PIMCO Funds: Private Account Portfolio Series Short Term            Japan (Yen‐Hedged) Bond Fund II                             PIMCO Variable Insurance Trust: PIMCO Foreign Bond
    Floating NAV Portfolio II                                          PIMCO Cayman Trust: PIMCO Cayman Global Aggregate Ex‐        Portfolio (U.S. Dollar Hedged)
   PIMCO Funds: Private Account Portfolio Series Short‐Term            Japan (Yen‐Hedged) Income Fund                              PIMCO Variable Insurance Trust: PIMCO Global Bond
    Floating NAV Portfolio III                                         PIMCO Cayman Trust: PIMCO Cayman Global Aggregate            Portfolio (Unhedged)
   PIMCO Absolute Return Strategy 3 Master Fund LDC                    Bond Fund                                                   PIMCO Variable Insurance Trust: PIMCO Global Core Bond
   PIMCO Absolute Return Strategy 3D Offshore Fund Ltd.               PIMCO Cayman Trust: PIMCO Cayman Global Aggregate Ex‐        (Hedged) Portfolio
   PIMCO Absolute Return Strategy 3E Master Fund LDC                   Japan Income Fund                                           PIMCO Variable Insurance Trust: PIMCO Global Multi‐Asset
   PIMCO Absolute Return Strategy IV Master Fund LDC                  PIMCO Cayman Trust: PIMCO Cayman Global Credit Alpha         Managed Allocation Portfolio
   PIMCO Absolute Return Strategy IV IDF LLC                           Fund                                                        PIMCO Variable Insurance Trust: PIMCO High Yield Portfolio
   PIMCO Absolute Return Strategy V Master Fund LDC                   PIMCO Cayman Trust: PIMCO Cayman Global Credit Alpha        PIMCO Variable Insurance Trust: PIMCO Low Duration
   PIMCO Funds Ireland plc PIMCO Capital Securities Fund               Fund                                                         Portfolio
   PIMCO Funds Ireland plc PIMCO European ABS Fund                    PIMCO Cayman Trust: PIMCO Cayman Global Ex‐Japan Bond       PIMCO Variable Insurance Trust: PIMCO Real Return
   PIMCO Absolute Return Strategy 3 Master Fund LDC with               Fund                                                         Portfolio
    respect to its Class relating to the GBP Class of PIMCO            PIMCO Cayman Trust: PIMCO Cayman Global Ex‐Japan (Yen‐      PIMCO Variable Insurance Trust: PIMCO Short‐Term
    Absolute Return Strategy 3 Offshore Fund Ltd.                       Hedged) Bond Fund                                            Portfolio
   PIMCO Absolute Return Strategy 3E Master Fund LDC with             PIMCO Cayman Trust: PIMCO Cayman Global High Income         PIMCO Variable Insurance Trust: PIMCO Total Return
    respect to its Class relating to the AUD Class of the PIMCO         Fund                                                         Portfolio
    Absolute Return Strategies 3E Offshore Fund Ltd.                   PIMCO Cayman Trust: PIMCO Cayman Global High Income         PIMCO Variable Insurance Trust: PIMCO Unconstrained
   PIMCO Absolute Return Strategy 3E Master Fund LDC with              (Yen‐Hedged) Fund                                            Bond Portfolio
    respect to its Class relating to the EURO Institutional Class      PIMCO Cayman Trust: PIMCO Cayman Japan Bank Capital         Terlingua Fund 2 LP
    of the PIMCO Absolute Return Strategies 3E Offshore Fund            Fund II (For Qualified Institutional Investors Only)        PIMCO Funds: PIMCO Total Return Fund II
    Ltd.                                                               PIMCO Cayman SPC Limited: PIMCO Cayman Japan Core           PIMCO Bermuda Trust II: PIMCO Bermuda Global Aggregate
   PIMCO Absolute Return Strategy 3E Master Fund LDC with              Segregated Portfolio                                         Ex‐Japan Bond Fund (M)
    respect to its Class relating to the Swedish Krona                 PIMCO Cayman Trust: PIMCO Cayman Japan CorePLUS Fund        PIMCO Global Multi‐Asset Managed Allocatio Portfolio
    Institutional Class of the PIMCO Absolute Return Strategy 3E        II                                                          PIMCO Funds: Global Investors Series plc PIMCO Emerging
    Offshore Fund Ltd.                                                 PIMCO Cayman SPC Limited: PIMCO Cayman Japan                 Multi‐Asset Fund
   PIMCO Absolute Return Strategy 3E Master Fund LDC with              CorePLUS Segregated Portfolio                               PIMCO Equity Series: PIMCO Dividend and Income Fund
    respect to its Class relating to the GBP Class of the PIMCO        PIMCO Cayman SPC Limited: PIMCO Cayman Japan                GIS EMAF Sleeve ‐ DLM
    Absolute Return Strategies 3E Offshore Fund Ltd.                    CorePLUS Strategy Segregated Portfolio                      GIS EMAF Sleeve ‐ EM Corporate Bond
   PIMCO Offshore Funds ‐ PIMCO Absolute Return Strategy IV           PIMCO Cayman Trust: PIMCO Cayman Mortgage Fund              GIS EMAF Sleeve ‐ EM Equity
    eFund                                                              PIMCO Cayman Trust: PIMCO Cayman Mortgage Fund              GIS EMAF Sleeve ‐ EM External Debt
   PIMCO Absolute Return Strategy IV Master Fund LDC with             PIMCO Cayman Trust: PIMCO Cayman Total Return Strategy      GIS EMAF Sleeve ‐ EM Local Debt
    respect to its Class relating to the Australian Dollar              Fund                                                        GIS GMAF Sleeve ‐ FX Strategies
    Institutional Class of the PIMCO Absolute Return                   PIMCO Cayman SPC Limited: PIMCO Cayman Unconstrained        GIS GMAF Sleeve ‐ Pathfinder EM

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    Strategies IV Offshore Fund I Ltd.                                     Bond Segregated Portfolio                                GIS Global Mulit‐Asset Fund (CAD Hedged)
   PIMCO Absolute Return Strategy IV Master Fund LDC with                PIMCO Cayman Trust: PIMCO Cayman U.S. Bond Fund          GIS Global Multi‐Asset Fund (CHF Hedged)
    respect to its Class relating to the Canadian Dollar                  PIMCO Cayman Trust: PIMCO Cayman U.S. Investment         PIMCO Equity Series: PIMCO Dividend and Income Fund
    Institutional Class of the PIMCO Absolute Return Strategy IV           Grade Corporate Bond Fund                                PIMCO Cayman Japan Fund I Ltd
    Offshore Fund 1 Ltd.                                                  PIMCO Cayman Trust: PIMCO Cayman U.S. Investment         PIMCO Parent (PAPS Short‐Term Floating NAV Portfolio III)
   PIMCO Absolute Return Strategy IV Master Fund LDC with                 Grade Intermediate Corporate Bond (Yen‐Hedged) Fund
    respect to its Class relating to the Euro Institutional Class of      PIMCO Cayman Trust: PIMCO Cayman U.S. Investment
    the PIMCO Absolute Return Strategies IV Offshore Fund I                Grade Corporate Bond Fund
    Ltd.
32. Peter Lundstedt
   Peter Lundstedt
33. PFA Pension
   PFA Pension                                                 Investeringsforeningen PFA Invest                                  PFA Kapitalforening
   FunktionærPension (merged with PFA Pension,                 PFA Investment Fund                                                PFA Pension, Forsikringsaktieselskab
    Forsikringsaktieselskab)
34. Portigon AG (f/k/a WestLB AG and Westdeutsche Landesbank Girozentrale)
   Portigon AG (f/k/a WestLB AG and Westdeutsche                         Erste Abwicklungsanstalt
    Landesbank Girozentrale)
35. Qantas Airways Limited
   Qantas Airways Limited
36. Richard Green (Fine Paintings)
   Richard Green (Fine Paintings)
37. SEI Trust Company
   SEI Trust Company                                                     CIT ‐ Real Return Collective Trust II                    CIT ‐ Total Return Collective Trust
   CIT ‐ Core Plus Bond Fund                                             CIT ‐ Real Return Strategy Fund                          CIT ‐ Unconstrained Bond Collective Trust
   CIT ‐ Global Advantage Strategy Collective Trust                      CIT ‐ RealEstatePLUS Collective Trust                    CIT ‐ CommoditiesPLUS Collective Trust

38. Swedish state pension funds ("AP Funds")
   Forsta AP‐fonden
                                                                          Tredje AP‐fonden                                         Fjarde AP‐fonden
   Andra AP‐fonden
39. The ECU Group Public Limited Company
   The ECU Group Public Limited Company
40. The Okazaki Shinkin Bank
   The Okazaki Shinkin Bank
41. Thomson Reuters (Markets) LLC, on behalf of itself and all Thomson Reuters affiliates
   Thomson Reuters (Markets) LLC                                         Reuters America LLC                                      Thomson Reuters (SEF) LLC
   Thomson Reuters Finance Co.                                           West Publishing Corporation                              Reuters Transaction Services Limited
   Reuters Limited
42. Tokyo Commodity Exchange, Inc.
   Tokyo Commodity Exchange, Inc.


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43. Vulpes Investment Management
     Vulpes Investment Management                          Artradis Barracuda Fund                              Vulpes Russian Opportunities Fund
     AB2 Fund                                              Vulpes Long Asian Volatility and Arbitrage Fund      Vulpes Testudo Fund
44. XTO Energy, Inc.
     XTO Energy, Inc                                       Ellora Energy Inc.                                   RFB 1993A O&G NM, LLC
     32 Mineral O&G NM, L.L.C.                             English Bay Pipeline, LLC                            RFB 1993C O&G NM, LLC
     820MT O&G NM, L.L.C.                                  EPB‐PC O&G NM L.L.C.                                 Ringwood Gathering Company
     ACB O&G NM, LLC                                       Fayetteville Gathering Company                       RMB O&G NM, LLC
     Antero Resources Corporation                          Fine Line O&G NM, L.L.C.                             San Juan Partners, LLC
     Antero Resources I GP, LLC                            Goliad O&G NM, L.L.C.                                SBBCA Holdings, L.P.
     Antero Resources I, LP                                Hartshorne Gathering, LLC                            SBBH Genpar, LLC
     Antero Resources I LP, LLC                            Havre Pipeline Company, LLC                          South Timbers Limited Partnership
     Antero Resources Pipeline LP                          HHE Energy Company                                   Spring Holding Company
     ARBGT (SRB) O&G NM, LLC                               Hickory Timbers Limited Partnership                  Spring Resources, Inc.
     ARB‐LMB PC O&G NM, L.L.C.                             HHEC Acquisition Corporation                         SRBI O&G NM, L.L.C.
     ARB‐RMB PC O&G NM, L.L.C.                             Houston County Timber Company                        SRBMT O&G NM, L.L.C.
     ARB‐SRB PC O&G NM, L.L.C.                             HPC Acquisition Corporation                          SSB 1993A O&G NM, LLC
     Barnett Gathering, LLC                                HPT Land Company                                     SSB 1993C O&G NM, LLC
     Bass Energy Services, LLC                             Keystone O&G NM, LLC                                 Summit Gas Gathering, LLC
     BEPCO NM, LLC                                         LMBI O&G NM, LLC                                     TBP Holdings, L.L.C.
     BMT O&G NM, LLC                                       Main Elk Corporation                                 Thomas C. Mueller Inc.
     BOPCO GP LLC                                          Mega Natural. Gas Company, L.L.C.                    Thomas C. Mueller of Crawford County, Inc.
     BOPCO Midstream Services, LLC                         MBCA Holdings, LLC                                   Thomas C. Mueller, Limited
     BOPCO, L.P.                                           MLB O&G NM, LLC                                      Thru Line O&G NM, L.L.C.
     Capital Partnership II O&G NM, LLC                    Mountain Gathering, LLC                              Timberland Gathering & Processing Company, Inc.
     Capital Partnership O&G NM, LLC                       Nesson Gathering System, LLC                         TRB O&G NM, LLC
     Classic Oil & Gas, Inc.                               North Timbers Limited Partnership                    Trend Gathering & Treating, LLC
     Classic Petroleum, Inc.                               NPB Holdings, L.P.                                   TWP, Inc.
     CMB O&G NM, LLC                                       NPBH Genpar, LLC                                     WD O&G, NM, L.L.C
     Cravens Oil Company                                   PBCA Holdings, L.P.                                  West Timbers Limited Partnership
     Cross Timbers Energy Services, Inc.                   PBH Genpar, LLC                                      WTW Properties, Inc.
     Cross Timbers Oil Company                             PERI Acquisitions Management #2, LLC                 X Landmark LLC
     Cross Timbers Oil Company, L.P.                       PERI Energy Acquisition #2, LLC                      XH, LLC
     Cross Timbers Trading Company                         PERI LLC                                             XTO Barnett LLC
     CTV O&G NM, LLC                                       PERI Texas Resources, LP                             XTO Offshore Inc.
     DBFL Holdings, L.P.                                   Phillips Drilling Company                            XTO Netherlands, Ltd.
     DBH Genpar, LLC                                       Phillips Exploration, LLC                            XTO Resources I GP, LLC
     Delbasin Corporation                                  Phillips Resources, Inc.                             XTO Resources I LP
     Dominion Reserves ‐ Utah, Inc.                        PRB 111993A O&G NM, LLC                              XTO Resources I LP, LLC
     Dominion San Juan, Inc.                               PRB 111993C O&G NM, LLC                              XTO UK, Ltd
     East Timbers Limited Partnership
45.   Zdenka Kotenova
     Zdenka Kotenova




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